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                                                                      APR -5 2021
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1     KATHRYN C. WANNER (Cal. Bar No. 269310)
      Email: wannerk@sec.gov
2     M. LANCE JASPER (Cal. Bar No. 244516)
      Email: jasperml@sec.gov
3
      Attorneys for Plaintiff
4     Securities and Exchange Commission
      Michele Wein Layne, Regional Director
5     Alka N. Patel, Associate Regional Director
      Amy J. Longo, Regional Trial Counsel
6     444 S. Flower Street, Suite 900
      Los Angeles, California 90071
7     Telephone: (323) 965-3998
      Facsimile: (213) 443-1904
8
                            UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
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11
12
        SECURITIES AND EXCHANGE                    Case No. 2:21-CV-02927-CAS-GJSx
13
        COMMISSION,
                                                   DECLARATION OF LANCE JASPER
14                                                 IN SUPPORT OF PLAINTIFF
                    Plaintiff,                     SECURITIES AND EXCHANGE
15                                                 COMMISSION’S EX PARTE
              vs.                                  APPLICATION FOR AN ORDER (1)
16                                                 FREEZING ASSETS; (2) REQUIRING
        ZACHARY J. HORWITZ; AND                    AN ACCOUNTING; (3)
17      1INMM CAPITAL, LLC,                        PROHIBITING DESTRUCTION OF
                                                   DOCUMENTS; AND (4) TO SET
18                                                 HEARING ON ORDER TO SHOW
                    Defendants,
                                                   CAUSE
19
                                                   (FILED UNDER SEAL)
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1                            DECLARATION OF LANCE JASPER
2           I, Lance Jasper, declare pursuant to 28 U.S.C. § 1746 as follows:
3     1.    I have personal knowledge of the matters set forth herein, except as otherwise
4     noted, and, if called as a witness, I could and would competently testify under oath to
5     the facts stated herein.
6           2.     I am an attorney admitted to practice law by the State Bar of California
7     and by this Court. I am currently an Attorney in the Division of Enforcement in the
8     Securities and Exchange Commission’s (“SEC”) Los Angeles Regional Office.
9           3.     In the course of my duties as an Attorney with the SEC, I investigate
10    violations of the federal securities laws. My responsibilities include, among other
11    things: (i) subpoenaing documents and witnesses; (ii) obtaining and analyzing
12    documents; (iii) taking testimony; (iv) interviewing witnesses; and (v) making
13    recommendations concerning whether there have been violations of the statutes and
14    regulations enforced by the SEC.
15          4.     I make this declaration in support of the above-captioned action. I
16    assisted in the SEC investigation underlying this action (the “Investigation”).
17          5.     Attached hereto as Exhibit 1 is a true and correct copy of a document
18    produced to the SEC by JJMT Capital, LLC (“JJMT Capital”) in connection with the
19    Investigation.
20          6.     Attached hereto as Exhibit 2 is a true and correct copy of a document
21    produced to the SEC by SAC Advisory, LLC (“SAC Advisory”) in connection with
22    the Investigation.
23          7.     Attached hereto as Exhibit 3 is a true and correct copy of a document
24    produced to the SEC by Pure Health Enterprises, Inc. (“Pure Health”) in connection
25    with the Investigation.
26          8.     Attached hereto as Exhibit 4 is a true and correct copy of a document
27    produced to the SEC by JJMT Capital in connection with the Investigation.
28          9.     Attached hereto as Exhibit 5 is a true and correct copy of a document

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1     produced to the SEC by JJMT Capital in connection with the Investigation.
2           10.    Attached hereto as Exhibit 6 is a true and correct copy of a document
3     produced to the SEC by JJMT Capital in connection with the Investigation.
4           11.    Attached hereto as Exhibit 7 is a true and correct copy of a document
5     produced to the SEC by Movie Fund, LLC (“Movie Fund”) in connection with the
6     Investigation.
7           12.    Attached hereto as Exhibit 8 is a true and correct copy of a document
8     produced to the SEC by JJMT Capital in connection with the Investigation.
9           13.        Attached hereto as Exhibit 9 is a true and correct copy of a document
10    produced to the SEC by Pure Health in connection with the Investigation.
11          14.    On or about March 11, 2021, in connection with the Investigation, I
12    spoke with counsel for JJMT Capital via telephone. During that call, I asked JJMT
13    Capital to produce a list of individuals and entities who provided funds to JJMT
14    Capital for the purpose of investing in promissory notes issued by 1inMM Capital,
15    LLC. On March 12, 2021, JJMT Capital produced a list that contains more than 150
16    individuals and entities. Counsel for JJMT represented to me that the list includes the
17    “JJMT noteholders” with “principal outstanding” from JJMT Capital’s investments in
18    promissory notes issued by 1inMM Capital.
19          15.    On or about March 25, 2021, in connection with the Investigation, I
20    spoke via telephone with two individuals who identified themselves as
21    representatives of SAC Advisory, Fortune Film Fund One, LLC and Fortune Film
22    Fund Two, LLC. During that call, the representatives of those entities informed me
23    that approximately 50 investors had contributed funds to those entities for the purpose
24    of investing in promissory notes issued by 1inMM Capital, LLC. During the same
25    call, the representatives of those entities explained to me that they had direct
26    interactions with Defendant Horwitz in connection with investments in promissory
27    notes issued by 1inMM, and that Defendant Horwitz knew, including from those
28    interactions, that the representatives’ entities obtained funds from multiple investors

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1     for the purpose of investing in promissory notes issued by 1inMM.
2           16.    On or about February 24, 2021, in connection with the Investigation, I
3     spoke via telephone with a person who identified himself as Scott Cohen. Mr. Cohen
4     informed me that his company, Cohen Distributions, LLC (“Cohen Distributions”),
5     provided funds to JJMT Capital for the purpose of investing in promissory notes
6     issued by 1inMM Capital, LLC. Attached hereto as Exhibit 10 is a true and correct
7     copy of an email I received from Mr. Cohen in connection with the Investigation.
8           17.    On or about March 22, 2021, in connection with the Investigation, I
9     spoke via telephone with a person who identified herself as S. Wong. Ms. Wong
10    informed me that she provided funds to Cohen Distributions in connection with
11    investments involving 1inMM Capital, LLC.
12          18.        Attached hereto as Exhibit 11 is a true and correct copy of a
13    document produced to the SEC by Pure Health in connection with the Investigation.
14          19.    Attached hereto as Exhibit 12 is a true and correct copy of a document
15    produced to the SEC by JJMT Capital in connect with the Investigation.
16          20.    Attached hereto as Exhibit 13 is a true and correct copy of a document
17    produced to the SEC by Pure Health in connection with the Investigation.
18          21.    There is no Exhibit 14 to this declaration.
19          22.    Attached hereto as Exhibit 15 is a true and correct copy of a document
20    produced to the SEC by JJMT Capital in connection with the Investigation.
21          23.    Attached hereto as Exhibit 16 are true and correct copies of excerpts of
22    documents produced to the SEC by Escrow of the West in connection with the
23    Investigation.
24          24.    Attached as Exhibit 17 is a true and correct copy of an image that I
25    captured from Zillow.com on March 29, 2021.
26          25.    Attached as Exhibit 18 is a true and correct copy of an image that I
27    captured from Zillow.com on March 29, 2021.
28          26.    Attached as Exhibit 19 is a true and correct copy of an image that I

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1     captured from Zillow.com on March 29, 2021.
2           27.    Attached as Exhibit 20 is a true and correct copy of an image that I
3     captured from Zillow.com on March 29, 2021.
4           28.    Attached as Exhibit 21 is a true and correct copy of an image that I
5     captured from Redfin.com on or about March 30, 2021.
6           29.    Attached as Exhibit 22 is a true and correct copy of a document
7     produced to the SEC by JJMT Capital in connection with the Investigation.
8           30.    On February 24, 2021, in connection with the Investigation, I caused
9     SEC subpoenas for documents and testimony to be issued to Defendants Zachary J.
10    Horwitz and 1inMM Capital, LLC. Those subpoenas set March 12, 2021 as the date
11    for those Defendants to produce documents to the SEC and to provide sworn
12    testimony in the Investigation. Attached hereto as Exhibits 23 and 24 are true and
13    correct copies of those subpoenas.
14          31.    On or about Tuesday, March 9, 2021, I received an email from Michael
15    J. Quinn of the law firm Vedder Price. Attached hereto as Exhibit 25 is a true and
16    correct copy of that email.
17          32.    On Thursday, March 11, 2021, I spoke via telephone with an individual
18    who identified himself as Ryan Hedges of Vedder Price. During that call, Mr.
19    Hedges asked for an extension of the deadlines for Defendant Horwitz to produce
20    documents to the SEC and to appear for testimony in the Investigation. I agreed to a
21    two-week extension, to March 26, 2021, for Defendant Horwitz to produce
22    documents. I declined to move the scheduled date for Defendant Horwitz’s
23    testimony until Defendant Horwitz’s counsel could suggest a specific day on which
24    Defendant Horwitz would agree to appear for testimony. I asked Mr. Hedges to let
25    me know as soon as possible when Defendant Horwitz would be able to appear for
26    that testimony.
27          33.    To my knowledge, following the March 11, 2021 call with Mr. Hedges, I
28    received no further communications from or on behalf of Defendant Horwitz. To my

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1     knowledge, Defendant Horwitz did not appear for testimony on March 12, 2021. To
2     my knowledge, Defendant Horwitz has not produced any of the documents called-for
3     by the subpoena issued to him in the Investigation, the extended deadline for which
4     has now passed. To my knowledge, 1inMM Capital also has not produced any
5     documents in the Investigation.
6           34.    Attached hereto as Exhibit 26 is a true and correct copy of an email that
7     I received from Ryan Spiegel, who has identified himself to me as one of the
8     individuals responsible for managing SAC Advisory.
9           35.    Attached hereto as Exhibit 27 is a true and correct copy of a document
10    that I received as an attachment to the email in Exhibit 26.
11          36.    Attached hereto as Exhibit 28 is a true and correct copy of a document
12    that I received as an attachment to the email in Exhibit 26.
13          37.    Attached hereto as Exhibit 29 is a true and correct copy of a document
14    produced to the SEC by SAC Advisory in connection with the Investigation.
15          38.    Attached hereto as Exhibit 30 is a true and correct copy of excerpts of
16    documents produced to the SEC by Los Angeles County in connection with the
17    Investigation. Counsel for Los Angeles Country represented to me that the excerpts
18    come from the records of the Los Angeles County Treasurer and Tax Collector’s
19    Office.
20          39.    Attached hereto as Exhibit 31 is a true and correct copy of a document
21    that I printed from the California Secretary of State website on March 31, 2021.
22          40.    Attached hereto as Exhibit 32 is a true and correct copy of a document
23    that I printed from the Nevada Secretary of State website on March 31, 2021.
24          41.    Attached hereto as Exhibit 33 is a true and correct copy of a document
25    that I printed on March 31, 2021 from www.sec.gov. Based on my experience as an
26    employee of the SEC, I understand www.sec.gov to be the SEC’s public-facing
27    website.
28          42.    On April 1, 2021, I conducted a public records search using a real

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1     property database available to me through LexisNexis. Attached hereto as Exhibit
2     34 is a true and correct copy of an image I captured from results returned by that
3     search.
4           43.    Attached hereto as Exhibit 35 is a true and correct copy of an image I
5     captured from imbd.com on April 1, 2021.
6           44.    Attached hereto as Exhibit 36 is a document produced to the SEC in
7     connection with the Investigation by the Los Angeles County Registrar-
8     Recorder/County Clerk.
9           I declare under penalty of perjury under the laws of the United States of
10    America that the foregoing is true and correct.
11          Executed this 1st day of April 2021 in Los Angeles, California.
12
13                                                 /s/ Lance Jasper
14                                                 Lance Jasper

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                   EXHIBIT 1
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  Kendall Brill Kelly LLP
  February 9, 2021
  Page 2

          Each of the Notes also contains a reference to an “Assignment of Rights” agreement which
  is attached to each such Note pursuant to which 1inMM “unconditionally and irrevocably” assigns
  to JJMT its right, title and interest in the Films until JJMT is paid in full with respect to such Note.
  The rights assigned by 1inMM to JJMT pursuant to the Assignment of Rights agreement
  unquestionably includes the Distribution Rights and the Platform Payment Obligations.

          JJMT understands from 1inMM that the reason 1inMM is unable to pay amounts owed to
  JJMT is a direct result of both (i) Warner Media LLC, Home Box Office, Inc. or HBO Latin
  America Holdings or any of their subsidiaries or affiliates (collectively, “HBO”) and (ii) Netflix,
  Inc. (“Netflix”) failing to pay amounts owed to 1inMM in accordance with written agreements
  with 1inMM.

          To date, despite repeatedly demanding (and not receiving) payment from 1inMM, JJMT
  has elected not to initiate formal proceedings to collect the Outstanding Note Obligations and has
  elected not to exercise its rights under the “Assignment of Rights” clauses under the Note.

         However, JJMT’s patience has reached its limitation and JJMT’s confidence that 1inMM
  is competently working to collect amounts that 1inMM has represented to JJMT are owed by HBO
  and Netflix is diminishing by the day.

          Further, KBK’s unwillingness to engage with Varnum to discuss 1inMM’s strategy with
  respect to its collection efforts or to provide any progress update with respect to those efforts is
  completely unacceptable to JJMT.

        Therefore, JJMT hereby demands that on or before 5:00 p.m. Eastern Standard Time
  on February 16, 2021 (the “Deadline”):

                 1inMM make payment of $283,465,695.00 to JJMT, which amount represents
                  the Stated Note Obligations plus a default interest rate of 2.5% per month
                  (compounding daily). JJMT and 1inMM have previously discussed the 2.5%
                  default interest rate (which was subject to contingencies to be fulfilled by 1inMM)
                  and JJMT is willing to agree to such rate so long as payment is made by the
                  Deadline.

                 In the event 1inMM does not believe that the amounts set forth above will be paid
                  by the Deadline, KBK must provide a written summary to Varnum of:

                       o Status of discussions with HBO and Netflix;

                       o Anticipated amounts and payment dates for all past due Platform Payment
                         Obligations by HBO and Netflix.




                                                                                                             Exhibit
               Ann Arbor | Birmingham | Detroit | Grand Haven | Grand Rapids | Kalamazoo | Lansing | Naples, FL | Novi 1 Page 8


                                                                                                                   JJMT-SEC-0004798
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                                                              Exhibit 1 Page 10
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                                                              Exhibit 1 Page 11
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                                                              Exhibit 1 Page 12
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                                                              Exhibit 1 Page 13
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                                                              Exhibit 1 Page 14
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                   EXHIBIT 2
                    Case 2:21-cv-02927-CAS-PD Document 7 Filed 04/05/21 Page 18 of 201 Page ID #:167



SAC Advisory Group, LLC
Title                         Maturity   Wire Out   Amount         Wire In     Amount
Hunt For Truth                 2/22/2017 8/19/2016      342,600.00 2/22/2017       450,350.00
Girl Who Invesnted Kissing     2/11/2018   8/8/2017     658,750.00 2/12/2018       857,757.00
The Solar System               8/15/2018 2/13/2018      620,000.00 8/16/2018       792,720.00
Brick Mansions                  1/5/2019 6/29/2018   2,691,700.00     1/7/2019   3,364,624.00 Grouped
Red Snake                       1/4/2019 6/29/2018    2,691,700.00    1/7/2019   3,364,624.00 Grouped
Everly                          1/6/2019 6/29/2018    2,691,700.00    1/7/2019   3,364,624.00 Grouped
WER                             1/5/2019 6/29/2018    2,691,700.00    1/7/2019   3,364,624.00 Grouped
POMS                            3/6/2019   9/4/2018     690,100.00    3/6/2019     879,877.00
The Bay of Silence             3/20/2019 9/19/2018      720,000.00 3/20/2019       900,000.00
Mrs. Lowry and Son             3/24/2019 9/21/2018      710,650.00 3/25/2019       906,078.00
Million Dollar Nomad           4/20/2019 10/24/2018     710,200.00 4/22/2019       887,750.00
Deadwall Hotel                 4/20/2019 10/23/2018     720,640.00 4/22/2019       900,800.00
10 Minutes Gone                7/11/2019 1/11/2019   2,928,700.00 7/12/2019      2,687,599.00 Grouped
Medieval                       7/11/2019 1/11/2019    2,928,700.00 7/12/2019     2,687,599.00 Grouped
Stage Mother                   7/11/2019 1/11/2019    2,928,700.00 7/12/2019     2,687,599.00 Grouped
Ride Like a Girl               7/14/2019 1/11/2019    2,928,700.00 7/15/2019     2,759,919.00 Grouped
Ana                            7/14/2019 1/14/2019    1,470,200.00 7/15/2019     2,759,919.00 Grouped
Windows of the World           7/14/2019 1/14/2019    1,470,200.00 7/15/2019     2,759,919.00 Grouped
You and Me                     9/13/2019 3/12/2019      727,500.00 9/13/2019       923,925.00
Still                          9/21/2019 3/20/2019      744,500.00 9/23/2019       908,290.00
The Corrupted                  9/27/2019 3/26/2019      733,500.00 9/30/2019     1,799,500.00
Mortal                         9/28/2019 3/26/2019      741,500.00 9/30/2019     1,799,500.00
Hearts Beat Loud              10/23/2019 4/23/2019      743,650.00 10/28/2019    1,808,223.00
Lexi                          10/24/2019 4/23/2019      738,500.00 10/28/2019    1,808,223.00
The Quarry                    11/13/2019 5/10/2019      745,250.00 11/18/2019      909,205.00
The Virtuoso                  11/17/2019 5/16/2019      725,500.00 11/20/2019      885,110.00
A Violent Separation          11/17/2019 5/16/2019      712,500.00 11/22/2019      869,250.00
The Etruscan Smile            12/27/2019 6/26/2019      742,500.00 NA          NA
Acceleration                   1/18/2020 7/17/2019      743,750.00 NA          NA
Trauma Center                  1/18/2020 7/17/2019      741,275.00 NA          NA
Grand Isle                     1/18/2020 7/17/2019   1,485,250.00 NA           NA             Grouped


                                                                                                        Exhibit 2 Page 15
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Hard Night Falling              1/18/2020 7/17/2019     1,485,250.00 NA      NA               Grouped
Pharaoh's War                   1/19/2020 7/19/2019     1,478,500.00 NA      NA               Grouped
The Dare                        1/19/2020 7/19/2019     1,478,500.00 NA      NA               Grouped
Real                            2/26/2020 8/26/2019       744,000.00 NA      NA
Journey's End                   2/27/2020 8/26/2019       742,650.00 NA      NA
Killing Gunther                 3/17/2020 9/13/2019       740,500.00 NA      NA
3 From Hell                     3/26/2020 9/25/2019       744,500.00 NA      NA
Bottom of the 9th                4/3/2020 10/1/2019     1,480,000.00 NA      NA               Grouped
Cruel Peter                      4/3/2020 10/1/2019     1,480,000.00 NA      NA               Grouped
City of Rock                    4/10/2020 10/9/2019     1,480,250.00 NA      NA               Grouped
A Question of Faith             4/10/2020 10/9/2019     1,480,250.00 NA      NA               Grouped
The Burnt Orange Heresy         4/30/2020 10/29/2019    1,486,550.00 NA      NA               Grouped
Judy                            4/30/2020 10/29/2019    1,486,550.00 NA      NA               Grouped
Welcome to the Circle            5/3/2020 11/4/2019     1,485,300.00 NA      NA               Grouped
Four Good Days                   5/3/2020 11/4/2019     1,485,300.00 NA      NA               Grouped
Dirt                            5/20/2020 11/19/2019      745,800.00 NA      NA
Abduction                       5/20/2020 11/20/2019      745,800.00 NA      NA
American Fighter                5/21/2020 11/22/2019      746,150.00 NA      NA
The Booksellers                 5/21/2020 11/21/2019    2,983,450.00 NA      NA               Grouped
Lady Driver                     5/21/2020 11/21/2019    2,983,450.00 NA      NA               Grouped
Prey                            5/21/2020 11/21/2019    2,983,450.00 NA      NA               Grouped
Nuclear                         5/21/2020 11/21/2019    2,983,450.00 NA      NA               Grouped
Total                                                  38,192,165.00          23,490,977.00
Currently Invested                                     19,316,225.00

Fortune Film Fund One, LLC
Title                         Maturity   Wire Out   Amount        Wire In    Amount
Stockholm                      4/20/2018 10/19/2017    697,050.00 4/20/2018     905,670.00
Light of My Life               4/24/2018 10/19/2017    710,000.00 4/25/2018     936,250.00
Muse                           5/29/2018 11/27/2017    682,750.00 5/29/2018     885,090.00
Haunt                          7/23/2018 1/22/2018     625,700.00 7/23/2018     815,711.00
Altitude                       11/2/2018   5/1/2018    702,380.00 11/2/2018     895,534.00
Black Water                    11/2/2018   5/1/2018    675,520.00 11/5/2018     861,288.00
Realive                       11/25/2018 5/30/2018     690,700.00 11/26/2018    880,642.00


                                                                                                        Exhibit 2 Page 16
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Body at Brighton Rock                 2/6/2019   8/2/2018      685,400.00    2/6/2019     873,885.00
Rattlesnakes                          5/9/2019 11/9/2018       737,000.00    5/9/2019   1,852,320.00 Grouped
River Runs Red                        5/9/2019 11/9/2018       715,800.00    5/9/2019   1,852,320.00 Grouped
Remember Me                          6/14/2019 12/14/2018      730,500.00 6/17/2019       931,387.00
Patient Zero                         8/22/2019 2/20/2019       730,200.00 8/21/2019       890,844.00
Vampires vs. The Bronx              11/14/2019 5/10/2019       742,250.00 11/18/2019      905,545.00
Slasher Party                       11/14/2019 5/10/2019       737,500.00 11/18/2019      899,750.00
The Great Alaskan Race              12/27/2019 6/26/2019       745,500.00 NA          NA
Mary Shelley                         2/26/2020 8/26/2019       743,850.00 NA          NA
American Fright Fest                 5/20/2020 11/19/2019    1,492,300.00 NA          NA             Grouped
Outback                              5/20/2020 11/19/2019    1,492,300.00 NA          NA             Grouped
Total                                                       12,844,400.00              12,533,916.00
Currently Invested                                           2,981,650.00

Fortune Film Fund Two, LLC
Title                               Maturity   Wire Out   Amount        Wire In    Amount
Donnybrook                           7/24/2018 2/12/2018     728,500.00 7/24/2018      932,295.00
Not the End                          8/16/2018 2/12/2018     685,350.00 8/16/2018      882,817.00
The Motive                           8/16/2018 2/13/2018     705,700.00 8/16/2018      909,514.00
The DMZ                              9/20/2018 3/20/2018     620,185.00 9/20/2018      797,475.00
Eric Clapton: Life in 12 Bars        11/2/2018   5/1/2018    741,500.00 11/5/2018      945,412.00
Never Grow Old                       2/10/2019   8/2/2018    708,550.00 2/11/2019      903,401.00
Offical Secrets                       3/6/2019   9/4/2018    740,500.00   3/6/2019     944,137.00
Scary Stories to Tell in the Dark     3/7/2019   9/4/2018    685,000.00   3/7/2019     873,375.00
Silencio                             3/13/2019 9/12/2018     742,500.00 3/14/2019      946,687.00
Nowhere Mind                         3/20/2019 9/19/2018     725,800.00 3/20/2019      925,395.00
Feral                                3/24/2019 9/24/2018     695,200.00 3/25/2019      886,380.00
I Hate New York                      4/20/2019 10/22/2018    735,000.00 4/23/2019      937,125.00
Family of Fear                        5/9/2019 11/9/2018     738,500.00   5/9/2019     941,587.00
The Tracker                          8/21/2019 2/20/2019     742,700.00 8/21/2019   2,709,254.00 Grouped
Deadman Standing                     8/21/2019 2/20/2019     740,500.00 8/21/2019   2,709,254.00 Grouped
Vault                                8/22/2019 2/20/2019     737,500.00 8/21/2019    2,709,254.00 Grouped
London Rampage                       9/13/2019 3/12/2019     733,250.00 9/13/2019    1,796,328.00 Grouped
Down's Revenge                       9/13/2019 3/12/2019     739,150.00 9/13/2019    1,796,328.00 Grouped


                                                                                                               Exhibit 2 Page 17
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Madonna                        9/21/2019 3/20/2019       746,250.00 9/23/2019    1,810,175.00 Grouped
State Like Sleep               9/22/2019 3/20/2019       737,500.00 9/23/2019    1,810,175.00 Grouped
The Kill Team                  9/27/2019 3/26/2019       745,100.00 9/30/2019      909,022.00
Warning Shot                  10/23/2019 4/23/2019       745,000.00 10/28/2019     908,000.00
To The Stars                  11/13/2019 5/10/2019       742,000.00 11/18/2019     905,240.00
The Yellow Birds               2/23/2020 8/21/2019     2,228,950.00 NA         NA             Grouped
SMART Chase                    2/23/2020 8/21/2019     2,228,950.00 NA         NA             Grouped
The Super                      2/23/2020 8/21/2019     2,228,950.00 NA         NA             Grouped
First Reformed                 3/16/2020 9/13/2019       741,200.00 NA         NA
Leatherface                    3/17/2020 9/13/2019       742,500.00 NA         NA
7 Days in Entebbe              3/26/2020 9/25/2019       742,850.00 NA         NA
Feedback                       3/26/2020 9/25/2019       744,150.00 NA         NA
Iron Sky:The Coming Race        4/3/2020 10/1/2019       744,800.00 NA         NA
Loro                           4/30/2020 10/29/2019      744,500.00 NA         NA
The Drone                      5/20/2020 11/19/2019      746,200.00 NA         NA
Total                                                 24,096,385.00             20,863,619.00
Currently Invested                                     7,435,150.00

Total Invested Over Term                              75,132,950.00 Total Paid   56,888,512.00
Currently Invested                                    29,733,025.00




                                                                                                        Exhibit 2 Page 18
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                   EXHIBIT 3
                              Case 2:21-cv-02927-CAS-PD Document 7 Filed 04/05/21 Page 23 of 201 Page ID #:172



PURE HEALTH TOTALS ‐ ONLY PRINCIPLE

Movie                          Contract Signed    Due Date         TOTAL NET INVESTMENT PURE HEALTH VAUSSE FILMS                                                         TOTALS VERIFIED

Watchlist                      May 29th           Nov 29th                      $738,250    $222,275     $2,000,475                                                            $2,222,750
Run with the Hunted            May 29th           Nov 29th                      $744,500                                                                                               $0
Arctic                         May 29th           Nov 29th                      $740,000                                                                                               $0
Don't Open Your Eyes           June 24th          Dec 24th                      $739,500                 $1,331,910                 $147,990                                   $1,479,900
You Might be the Killer        June 24th          Dec 24th                      $740,400                                                                                               $0
Clara                          June 24th          Dec 24th                      $737,500    $237,500                   $500,000                                                 $737,500
Killer Man                     July 22nd          Jan 22nd                      $743,250                                            $371,625    $371,625                        $743,250
Screemers                      Aug 1st            Feb 1st                       $743,500                                            $176,000                 $567,500           $743,500
Foreplay                       Aug 1st            Feb 1st                       $744,850    $148,510     $1,336,590                                                            $1,485,100
Dauntless                      Aug 1st            Feb 1st                       $740,250                                                                                               $0
Legend of the Ancient Sword    Aug 26th           Feb 26th                      $744,700                                            $372,350                 $372,350           $744,700
The Titans                     Aug 26th           Feb 26th                      $743,500     $74,350      $669,150                                                              $743,500
Roads                          Sept 23rd          March 23rd                    $740,200     $74,020      $666,180                                                              $740,200
Pegasus                        Sept 23rd          March 23rd                    $739,650    $189,650                   $550,000                                                 $739,650
Trouble                        Sept 23rd          March 23rd                    $742,500                                            $210,000                 $532,500           $742,500
El Fotografo                   October 17th       April 17th                    $739,500    $221,850     $1,996,650                                                            $2,218,500
The Skin of the Wolf           October 17th       April 17th                    $739,200                                                                                               $0
The Bar                        October 17th       April 17th                    $739,800                                                                                               $0
The Insult                     October 17th       April 17th                    $739,000                                            $100,000                 $639,000           $739,000
La Melodie                     October 18th       April 18th                    $739,850    $189,850                   $550,000                                                 $739,850
Sleeping in Plastic            Nov 18th           May 18th                      $743,500                                            $565,000                $2,412,300         $2,977,300
Clown Fear                     Nov 18th           May 18th                      $745,800                                                                                               $0
Cranson Academy                Nov 18th           May 18th                      $745,200                                                                                               $0
The Butcher                    Nov 18th           May 18th                      $742,800                                                                                               $0
Mary                           Nov 29th           May 29th                      $745,500     $95,500                   $650,000                                                 $745,500

TOTAL                                                                        $18,542,700   $1,453,505    $8,000,955   $2,250,000   $1,942,965   $371,625    $4,523,650        $18,542,700

NET INVESTMENT                 TOTALS OWED         PERCENTAGES
PURE HEALTH                            $18,542,700
                                        $1,453,505         7.84%
BRETT CRAVATT                           $8,000,955        43.15%
                                        $2,250,000        12.13%
                                        $1,942,965        10.48%
                                        $4,895,275        26.40%
                                                           100%




                                                                                                                                                           Exhibit 3 Page 19
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                   EXHIBIT 4
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     PROMISSORY NOTE

     $ (1,994,700.00)                                                        (12/17/2018)

     Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
     California, (the ''Maker''), hereby promises to pay to Lender, JJMT CAPITAL LLC, a
     Delaware Limited Liability company located at (
                          ), (the ''Payee'') an amount equal to (ONE MILLION NINE
     HUNDRED NINETY-FOUR THOUSAND SEVEN HUNDRED) Dollars
     ($1,994,700.00) in lawful money of the United States of America, which sum shall be
     due and payable on (12/17/2019) (the ''Maturity Date''), in one (1) balloon payment,
     in like money at said office. Payment date shall be no later than TWELVE (12)
     months post confirmed funds transfer from Payee to Maker in the amount of (ONE
     MILLION THREE HUNDRED NINETY-EIGHT THOUSAND) Dollars
     ($1,398,000.00).


    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A

     Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
     and that in the event payment of principal or interest due under this Note is not made
     when due, giving effect to any grace period which maybe applicable, the outstanding
     balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
     percent per month, for so long as such event of default continues.

     Validity of Agreement to Conform to Law. All agreements between the undersigned and
     the holder of this Note are expressly limited so that in no contingency or event
     whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
     maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
     be paid to the holder hereof for the use, forbearance or detention of money advanced
     hereunder exceed the highest lawful rate permissible under any law which a court of
     competent jurisdiction may deem applicable hereto. If, from any circumstances
     whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
     any other agreement referred to herein, at the time performance of such provision shall be
     due, shall involve transcending the limit of validity prescribed by law which a court of
     competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
     fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
     holder hereof shall ever receive as interest an amount which would exceed the highest
     lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                Exhibit 4 Page 20
                                                                                            JJMT-SEC-0000066
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.

     Maker’s Default. At the option of the holder hereof exercised by written notice to the
     undersigned, this Note shall become immediately due and payable upon the maker's
     failure to pay when due any payment of principal, interest or expenses due hereunder; or
     (b) failure in the performance or observance of any of the terms or conditions of any
     mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
     otherwise pertaining to this Note after giving effect to any applicable curative period
     which may be contained therein. Upon the occurrence of any of the following specified
     Events of Default, as defined under the standard conventions and terminology prescribed
     for promissory notes drafted under Warren’s California Forms for Principal, Interest,
     Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
     called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
     any Event of Default shall then be continuing, the Payee may, by written notice to the
     Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
     due and payable, whereupon the principal of and such unpaid accrued interest in respect
     of this Note shall become forthwith due and payable without presentment, demand,
     protest or other notice of any kind, all of which are hereby expressly waived by the
     Maker. Furthermore, This note shall become due and payable before the above-
     mentioned maturity date immediately upon the happening of any of the following events
     affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
     petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
     creditors, calling meeting of creditors, appointment of liquidating agent or committee,
     offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
     or for over 30 days, application for appointment or appointment of any receiver, issuance
     of warrant of attachment or death of any maker or indorser or on default of any other
     obligations to the Maker.

     Collection Costs. If this Note or any installment of principal or interest is not paid when
     due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
     collection, including without limitation, actual attorneys' fees, and all expenses in
     connection with the protection or realization of the assets and proceeds available this
     Note or the enforcement of any subsequent memorandum or agreement created in
     conjunction with this Note incurred by the holder hereof on account of such collection,
     whether or not suit is filed hereon or thereon; such costs and expenses shall include,
     without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
     hereof in connection with any insolvency, bankruptcy, arrangement or other similar
     proceedings involving the undersigned, or involving any endorser or guarantor hereof,
     which in anyway affects the exercise by the holder hereof of its rights and remedies under
     this Note or under any mortgage, deed of trust, security agreement, guaranty or other
     agreement securing or pertaining to this Note.

     Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
     nonpayment of this Note and all notices of every kind are hereby waived by all parties to




                                                                                 Exhibit 4 Page 21
                                                                                            JJMT-SEC-0000067
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     this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
     provided herein. To the extent permitted by applicable law, the defense of the statute of
     limitations is hereby waived by the undersigned.

     Death of Maker. Maker of this note hereby waives all notice and demand and consent that
     this note shall become due and payable immediately upon the happening of any of said
     events. This note shall become due and payable on the Maturity Date, but payment shall
     be accelerated and become due and payable immediately if the Maker shall die. For the
     further security of the holder thereof, the undersigned covenants that so long as any part
     of the principal or interest of this note is outstanding and unpaid, it will not grant any
     security interest to any third party upon its property, or create any lien whatsoever
     thereon, without also thereby including therein this note, equally and ratably with every
     other evidence of debt, secured by any of the undersigned's property. If, while any part of
     the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
     then the holder hereof may at his or its election, declare and make this note at once due
     and payable by written notice delivered to maker, and this remedy will be deemed
     cumulative and in addition to any other remedy available to the holder hereof. This note
     shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
     cause whatsoever.

     Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
     case of non-payment thereof at maturity, or of any installment thereof when due, may
     grant to the maker or any indorser of said note any extension or extensions of time of
     payment thereof, in whole or in part, without notice to said indorsers or any of them and
     any such extension or extensions shall not affect in any way said indorsers' liability upon
     note, such indorsers hereby waiving demand, presentment of payment, notice of
     nonpayment and protest and do further agree that any holder of this note may in the event
     of default in the payment of principal of, or interest upon, this note or any installment
     thereof repossess and/or sell the (collateral) held as collateral security for the payment of
     this note without in any way relieving said indorsers, or any of them, of any liability by
     reason of such repossession and/or sale, applying the proceeds of sale of any such asset
     less all costs to amount due under this note, and all indorsers agree to pay any deficiency
     on this note on demand.

     Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
     rights under this Note, the unsuccessful party or parties to such litigation, as determined
     by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
     or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
     party or parties (including, without limitation, such costs, expenses and fees on any
     appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
     judgment or decree.

     General Provisions. Principal and interest evidenced hereby are payable only in lawful
     money of the United States. The receipt of a check shall not, in itself, constitute payment
     hereunder unless and until paid in good funds. Whenever any payment on this Note shall
     be stated to be due on a day, which is not a business day, such payment shall be made on




                                                                                  Exhibit 4 Page 22
                                                                                             JJMT-SEC-0000068
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      the next succeeding business day and such extension of time shall be included in the
      computation of the payment of interest of this Note. This Note is to be governed by and
      construed in accordance with the laws of the State of California except to the extent
      United States federal law permits the holder to contract for, charge or receive a greater
      amount of interest. In any action brought under or arising out of this Note, the
      undersigned hereby consents to the in personam jurisdiction of any state or federal
      court sitting in the state of California, and waives any claim or defense that such forum
      is not convenient or proper, and consents to service of process by any means
      authorized by California and/or Federal law.


      THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
      UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
      OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
      RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
      ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
      HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
      WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
      CONTRACT OR IN TORT OR OTHERWISE.



                                                            12/20/18

      1INMM Capital, LLC                                   Date
      Zachary Horwitz, Manager




                                                                                Exhibit 4 Page 23
                                                                                           JJMT-SEC-0000069
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                                              APPENDIX A


                                             ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                         (“Assignor”) and JJMT CAPITAL LLC, a Delaware Limited
     Liability company located at
     (“Assignee”) is dated effective as of ( 12 / 17 / 2018).

     For good and valuable consideration, the receipt and sufficiency of which hereby
     acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
     and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
     throughout the universe, until assignee is paid ($1,994,700.00) at to which time all rights,
     title and interest of every kind and nature revert back to Assignor and to that certain
     motion picture, currently entitled “DIVIDE AND CONQUER: THE STORY OF ROGER AILES”
     (the “Picture”) based on the original screenplay entitled “ACTIVE MEASURES” directed by
     Alexis Bloom.

     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                     granted or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                     has in any way been encumbered, conveyed, assigned, transferred or
                     otherwise disposed of and all such rights are therefore free and clear of any
                     and all liens, claims, charges or encumbrances whatsoever in favor of any
                     party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
        hold them harmless from and against any and all claims, liability, losses, damages, costs,
        expenses (including but not limited to attorney’s fees) arising out of any breach by
        Assignor of any warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
        which accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
        any similar law in any country of the world and agrees not to institute or permit any
        action or lawsuit on the ground that the Picture in any way constitutes an infringement
        of any “droit morale” and Assignor agrees that Assignor shall not, under any
        circumstances (including without limitation, the circumstances of a breach by Assignee)
        be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
        rescind any rights granted to Assignee or to obtain any other form of equitable relief,
        specific performance or otherwise, any right to which Assignor expressly waives.




                                                                                     Exhibit 4 Page 24
                                                                                                JJMT-SEC-0000070
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     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
        any person, firm or corporation. Assignee may assign this Assignment and the rights
        and services granted herein, together with the results and proceeds thereof, and the
        representations and warranties contained herein, to any person or entity.

     6. This Assignment shall be construed in accordance with the laws of the state of California
        and shall be binding upon and shall inure to the benefit of the parties hereto and their
        respective successors, licensees and assigns. This Assignment cannot be amended or
        modified except in a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
     ASSIGNMENT AS OF THE (17)th DAY OF December 2018.



     1INMM CAPITAL, LLC (“Assignor”)               JJMT CAPITAL LLC (“Assignee”)



     By: __________________________________        By: _________________________________

     Its: __________________________________       Its: _________________________________




                                                                                     Exhibit 4 Page 25
                                                                                              JJMT-SEC-0000071
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                   EXHIBIT 5
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     PROMISSORY NOTE

     $ (1,994,625.00)                                                        (02/27/2019)

     Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
     California, (the ''Maker''), hereby promises to pay to Lender, JJMT CAPITAL LLC, a
     Delaware Limited Liability company located at (
                         ), (the ''Payee'') an amount equal to (ONE MILLION NINE
     HUNDRED NINETY-FOUR THOUSAND SIX HUNDRED TWENTY-FIVE)
     Dollars ($1,994,625.00) in lawful money of the United States of America, which sum
     shall be due and payable on (02/27/2020) (the ''Maturity Date''), in one (1) balloon
     payment, in like money at said office. Payment date shall be no later than TWELVE
     (12) months post confirmed funds transfer from Payee to Maker in the amount of
     (ONE MILLION THREE HUNDRED NINETY-SEVEN THOUSAND FIVE
     HUNDRED) Dollars ($1,397,500.00).


    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A

     Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
     and that in the event payment of principal or interest due under this Note is not made
     when due, giving effect to any grace period which maybe applicable, the outstanding
     balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
     percent per month, for so long as such event of default continues.

     Validity of Agreement to Conform to Law. All agreements between the undersigned and
     the holder of this Note are expressly limited so that in no contingency or event
     whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
     maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
     be paid to the holder hereof for the use, forbearance or detention of money advanced
     hereunder exceed the highest lawful rate permissible under any law which a court of
     competent jurisdiction may deem applicable hereto. If, from any circumstances
     whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
     any other agreement referred to herein, at the time performance of such provision shall be
     due, shall involve transcending the limit of validity prescribed by law which a court of
     competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
     fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
     holder hereof shall ever receive as interest an amount which would exceed the highest
     lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                Exhibit 5 Page 26
                                                                                            JJMT-SEC-0001105
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.

     Maker’s Default. At the option of the holder hereof exercised by written notice to the
     undersigned, this Note shall become immediately due and payable upon the maker's
     failure to pay when due any payment of principal, interest or expenses due hereunder; or
     (b) failure in the performance or observance of any of the terms or conditions of any
     mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
     otherwise pertaining to this Note after giving effect to any applicable curative period
     which may be contained therein. Upon the occurrence of any of the following specified
     Events of Default, as defined under the standard conventions and terminology prescribed
     for promissory notes drafted under Warren’s California Forms for Principal, Interest,
     Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
     called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
     any Event of Default shall then be continuing, the Payee may, by written notice to the
     Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
     due and payable, whereupon the principal of and such unpaid accrued interest in respect
     of this Note shall become forthwith due and payable without presentment, demand,
     protest or other notice of any kind, all of which are hereby expressly waived by the
     Maker. Furthermore, This note shall become due and payable before the above-
     mentioned maturity date immediately upon the happening of any of the following events
     affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
     petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
     creditors, calling meeting of creditors, appointment of liquidating agent or committee,
     offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
     or for over 30 days, application for appointment or appointment of any receiver, issuance
     of warrant of attachment or death of any maker or indorser or on default of any other
     obligations to the Maker.

     Collection Costs. If this Note or any installment of principal or interest is not paid when
     due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
     collection, including without limitation, actual attorneys' fees, and all expenses in
     connection with the protection or realization of the assets and proceeds available this
     Note or the enforcement of any subsequent memorandum or agreement created in
     conjunction with this Note incurred by the holder hereof on account of such collection,
     whether or not suit is filed hereon or thereon; such costs and expenses shall include,
     without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
     hereof in connection with any insolvency, bankruptcy, arrangement or other similar
     proceedings involving the undersigned, or involving any endorser or guarantor hereof,
     which in anyway affects the exercise by the holder hereof of its rights and remedies under
     this Note or under any mortgage, deed of trust, security agreement, guaranty or other
     agreement securing or pertaining to this Note.

     Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
     nonpayment of this Note and all notices of every kind are hereby waived by all parties to




                                                                                 Exhibit 5 Page 27
                                                                                            JJMT-SEC-0001106
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     this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
     provided herein. To the extent permitted by applicable law, the defense of the statute of
     limitations is hereby waived by the undersigned.

     Death of Maker. Maker of this note hereby waives all notice and demand and consent that
     this note shall become due and payable immediately upon the happening of any of said
     events. This note shall become due and payable on the Maturity Date, but payment shall
     be accelerated and become due and payable immediately if the Maker shall die. For the
     further security of the holder thereof, the undersigned covenants that so long as any part
     of the principal or interest of this note is outstanding and unpaid, it will not grant any
     security interest to any third party upon its property, or create any lien whatsoever
     thereon, without also thereby including therein this note, equally and ratably with every
     other evidence of debt, secured by any of the undersigned's property. If, while any part of
     the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
     then the holder hereof may at his or its election, declare and make this note at once due
     and payable by written notice delivered to maker, and this remedy will be deemed
     cumulative and in addition to any other remedy available to the holder hereof. This note
     shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
     cause whatsoever.

     Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
     case of non-payment thereof at maturity, or of any installment thereof when due, may
     grant to the maker or any indorser of said note any extension or extensions of time of
     payment thereof, in whole or in part, without notice to said indorsers or any of them and
     any such extension or extensions shall not affect in any way said indorsers' liability upon
     note, such indorsers hereby waiving demand, presentment of payment, notice of
     nonpayment and protest and do further agree that any holder of this note may in the event
     of default in the payment of principal of, or interest upon, this note or any installment
     thereof repossess and/or sell the (collateral) held as collateral security for the payment of
     this note without in any way relieving said indorsers, or any of them, of any liability by
     reason of such repossession and/or sale, applying the proceeds of sale of any such asset
     less all costs to amount due under this note, and all indorsers agree to pay any deficiency
     on this note on demand.

     Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
     rights under this Note, the unsuccessful party or parties to such litigation, as determined
     by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
     or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
     party or parties (including, without limitation, such costs, expenses and fees on any
     appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
     judgment or decree.

     General Provisions. Principal and interest evidenced hereby are payable only in lawful
     money of the United States. The receipt of a check shall not, in itself, constitute payment
     hereunder unless and until paid in good funds. Whenever any payment on this Note shall
     be stated to be due on a day, which is not a business day, such payment shall be made on




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      the next succeeding business day and such extension of time shall be included in the
      computation of the payment of interest of this Note. This Note is to be governed by and
      construed in accordance with the laws of the State of California except to the extent
      United States federal law permits the holder to contract for, charge or receive a greater
      amount of interest. In any action brought under or arising out of this Note, the
      undersigned hereby consents to the in personam jurisdiction of any state or federal
      court sitting in the state of California, and waives any claim or defense that such forum
      is not convenient or proper, and consents to service of process by any means
      authorized by California and/or Federal law.


      THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
      UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
      OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
      RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
      ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
      HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
      WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
      CONTRACT OR IN TORT OR OTHERWISE.



                                                             2/18/19

      1INMM Capital, LLC                                   Date
      Zachary Horwitz, Manager




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                                              APPENDIX A


                                             ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at 3129-A S. La
     Cienega Ave. Los Angeles, CA 90016 Assignor”) and JJMT CAPITAL LLC, a Delaware Limited
     Liability company located at                                               (“Assignee”)
     is dated effective as of (02 / 27 / 2019).

     For good and valuable consideration, the receipt and sufficiency of which hereby
     acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
     and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
     throughout the universe, until assignee is paid ($1,994,625.00) at to which time all rights,
     title and interest of every kind and nature revert back to Assignor and to that certain
     motion picture, currently entitled “LUCIA’S GRACE” (the “Picture”) based on the original
     screenplay entitled “LUCIA’S GRACE” directed by Gianni Zanasi.

     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                     granted or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                     has in any way been encumbered, conveyed, assigned, transferred or
                     otherwise disposed of and all such rights are therefore free and clear of any
                     and all liens, claims, charges or encumbrances whatsoever in favor of any
                     party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
        hold them harmless from and against any and all claims, liability, losses, damages, costs,
        expenses (including but not limited to attorney’s fees) arising out of any breach by
        Assignor of any warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
        which accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
        any similar law in any country of the world and agrees not to institute or permit any
        action or lawsuit on the ground that the Picture in any way constitutes an infringement
        of any “droit morale” and Assignor agrees that Assignor shall not, under any
        circumstances (including without limitation, the circumstances of a breach by Assignee)
        be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
        rescind any rights granted to Assignee or to obtain any other form of equitable relief,
        specific performance or otherwise, any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
        any person, firm or corporation. Assignee may assign this Assignment and the rights



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         and services granted herein, together with the results and proceeds thereof, and the
         representations and warranties contained herein, to any person or entity.

     6. This Assignment shall be construed in accordance with the laws of the state of California
        and shall be binding upon and shall inure to the benefit of the parties hereto and their
        respective successors, licensees and assigns. This Assignment cannot be amended or
        modified except in a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
     ASSIGNMENT AS OF THE (27)th DAY OF February 2019.



     1INMM CAPITAL, LLC (“Assignor”)               JJMT CAPITAL LLC (“Assignee”)



     By: __________________________________        By: _________________________________

     Its: Managing Partner                               Managing Partner
                                                   Its: _________________________________




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                   EXHIBIT 6
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                                           LICENSE AGREEMENT
     This License Agreement (“Agreement”) is entered into as of March 4th, 2019 (the
     “Effective Date”) by and between 1inMM Capital LLC, with its principal place of business
     at                                                  (“Licensor”) and NETFLIX, INC., a
     California Corporation, with its principal place of business at
                              (“Netflix”).
                                                     Recitals
     Licensor is a Distributor and owner of all rights hereby granted for “Yuli” (the “Title”), directed
     by Iciar Bollain and “Lucia’s Grace” (the “title”), directed by Gianni Zanasi.
     Netflix is a digital platform.
     Licensor and Netflix desire to enter into a relationship whereby Licensor will grant Netflix,
     among other things, a license to distribute the Title to subscribers within the Territory, as defined
     below, all in accordance with the terms and conditions set forth below.
                                                   Agreement
     In consideration of the mutual promises contained herein and such other good and valuable
     consideration, the parties agree as follows:
     1. Definitions.
         1.1.     “Affiliate” shall mean any business entity which Licensor and Netflix directly or
                  indirectly controls, is controlled by, or is under common control with, where
                  “control” is defined as the ownership of at least fifty percent (50%) of the equity or
                  beneficial interest of such entity or the right to vote for or appoint a majority of the
                  board of directors or other governing body of such entity or otherwise possesses the
                  power to direct the affairs of the entity.
         1.2.     “Basic TV” shall mean the delivery and/or exhibition of a motion picture, television
                  show or other entertainment product by means of cable, satellite or any other
                  electronic or non-tangible means (whether analog or digital, or via the Internet or any
                  other electronic or non-tangible medium now known or hereafter devised) where the
                  consumer is charged a recurring fee and/or periodic access charge for the first or
                  lowest tier(s) of service (including a tier that is required to be purchased or accessed
                  before access to other programming services is permitted), regardless of whether such
                  exhibition is on a regularly scheduled basis or made available to the viewer on an on
                  demand basis at the consumer’s discretion.
         1.3.      “Electronic Sell-Through” or “EST” shall mean the delivery and/or exhibition of a
                  motion picture, television show or other entertainment product, solely on a non-ad
                  supported basis, where the timing and/or selection of same is not pre-determined, but
                  rather is at the consumer’s discretion, and for which, and the right to permanently
                  download, retain and/or have access to same, the consumer is charged a transactional
                  fee.
         1.4.     “Free TV” shall mean the delivery and/or exhibition of a motion picture, television
                  show or other entertainment product by means of over the air signals (including the
                  retransmission of such signals by cable, satellite or any other electronic or non-
                  tangible means) whether analog or digital, or via the Internet solely on one (1)
                  website owned and operated by one (1) free-to-air broadcaster and branded as such
                  broadcaster’s website, where the consumer (i) is not charged a fee (except for the
                  license fee, if any, payable for the right to use a television set in certain territories)
                  and (ii) is required to view or is otherwise exposed to commercial interruptions
                  (display or interstitial).
         1.5.     “High Definition” shall mean a resolution of greater than or equal to 720p.




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        1.6.    “Home Video” shall mean the commercial release of a motion picture, television
                show or other entertainment product for purchase and/or rent on optical media, such
                as DVD and/or Blu-ray disc.
        1.7.    “Internet Transmission” shall mean the transmission of data via Internet Protocol,
                including without limitation through use of client software contained on a Blu-ray
                disc or other optical media.
        1.8.    “License Fees” shall mean, collectively, as set forth in more detail in Section 4.1.
        1.9.    “Licensed Languages” shall mean, for each Title hereunder, (i) its original language,
                (ii) neutral or Mexican Spanish (in subtitled form (and, if available, dubbed form) if
                the original language is other than Spanish), and (iii) Brazilian Portuguese (in
                subtitled form, if available (and, if available, dubbed form) if the original language is
                other than Brazilian Portuguese).
        1.10.   “Netflix-Enabled Device” or “NED” shall mean any device capable of receiving data
                via Internet Transmission, subject to the security and copy protection specifications
                set forth in Section 2.5 or otherwise agreed to by the parties, including without
                limitation (i) a desktop or laptop computer; (ii) a television set; (iii) a set top box,
                including a box that offers an integrated personal digital video recorder (DVR); (iv) a
                DVD and/or Blu-ray player; (v) a game console; (vi) a portable device, including
                without limitation a mobile phone or tablet; or (vii) a device with a web browser
                interface or other like capability.
        1.11.   “Netflix Service” shall mean a global subscription service that provides subscribers
                with on-demand access to movies and television content, and delivers such content
                through Internet Transmission to NEDs (including User Interfaces on same) and/or,
                currently in the United States only, in optical disc format (e.g., DVD, Blu-ray).
        1.12.   “Pay Per View” or “PPV” shall mean the delivery and/or exhibition of a motion
                picture, television show or other entertainment product, where the timing and/or
                selection of same is pre-determined, and not at the consumer’s discretion, where the
                consumer is required to view the content over a limited period of time, and for which
                the consumer is charged a transactional fee.
        1.13.   “Pay TV” shall mean the delivery and/or exhibition of a motion picture, television
                show or other entertainment product by means of cable, satellite or any other
                electronic or non-tangible means (whether analog or digital, or via the Internet or any
                other electronic or non-tangible medium now known or hereafter devised) where the
                consumer is charged a recurring fee and/or periodic access charge in addition to or in
                a greater amount than any fee payable in order to receive Basic TV, regardless of
                whether such exhibition is on a regularly scheduled basis or made available to the
                viewer on an on demand basis at the consumer’s discretion.
        1.14.   “Source Material” shall mean the source files for the Titles and associated trailers,
                artwork, promotional materials and metadata (including without limitation audio and
                closed captioning files), the delivery specifications for which are detailed in Schedule
                B attached hereto.
        1.15.   “Start Date” shall mean, for each Title, the date such Title may first be made
                available for exhibition on and distribution, as detailed on Schedule A attached hereto
                or, on the notifications Licensor shall provide to Netflix pursuant to Section 3.1.3.
        1.16.   “Subscription Video-on-Demand” or “SVOD” shall mean the delivery and/or
                exhibition of motion pictures, television and/or other entertainment products on a
                commercially uninterrupted basis where the consumer is charged a recurring fee
                and/or periodic access charge for the service.
        1.17.   “Taxes” shall mean all federal, state, local, foreign and other net income, gross
                income, gross receipts, sales, use, value added, goods and services, consumption, ad
                valorem, transfer, franchise, profits, withholding, payroll, excise, stamp, real or
                personal property, customs, duties or other taxes, fees, assessments or charges of any



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                   kind whatsoever, including any related penalties and interest, imposed by any federal,
                   territorial, state, local, or foreign government or any agency or political subdivision
                   of any such government.
        1.18.      “Term” shall mean the period commencing on the Effective Date and ending on the
                   expiration date of the last to expire Title License Period.
        1.19.      “Territory” shall mean the following countries and each of their respective territories,
                   possessions, commonwealths, and trusteeships:
                   Mexico;

                   Central America, including Belize, Costa Rica, Guatemala, El Salvador, Honduras,
                   Nicaragua and Panamá;

                   South America, including Argentina, Bolivia, Brazil, Chile, Colombia, Ecuador,
                   Paraguay, Peru, Uruguay and Venezuela; and

                   The Caribbean Basin Islands, including Anguilla, Antigua, Barbuda, Aruba,
                   Barbados, British Virgin Islands, Dominica, Dominican Republic, Grenada,
                   Guadeloupe, Haiti, Jamaica, Martinique, Montserrat, the Netherland Antilles, St.
                   Kitts and Nevis, St. Lucia, St. Vincent and the Grenadines, Trinidad, Tobago, and the
                   Turk and Caicos Islands.
        1.20.      “Theatrical” shall mean the exhibition of a motion picture, television show or other
                   entertainment product or program (regardless of the means of delivery) in
                   conventional, drive-in or special format (e.g., iMax) theaters that are open to the
                   general public and for which an admission fee is charged.
        1.21.      “User Interfaces” shall mean web applications built using Application Programming
                   Interfaces (commonly known as APIs) released by Netflix, which applications enable
                   subscribers and potential subscribers to link to or otherwise use the Netflix Service on
                   NEDs.
        1.22.      “Video-on-Demand” or “VOD” shall mean the delivery and exhibition of a motion
                   picture, television show or other entertainment product, where the timing and/or
                   selection of same is not scheduled, but rather is at the consumer’s discretion, where
                   the consumer can view the content over a limited period of time, and for which the
                   consumer is charged a transactional fee.
        1.23.      “Years” shall mean three (3) successive periods of twelve (12) calendar months
                   during the Term, the first of which shall begin on as detailed on Schedule A.


     2. Grant of Licenses.
        2.1.       Title License.
               2.1.1. Licensor grants to Netflix during the Term the exclusive right and license to exhibit
                      and distribute the Title (and associated Source Material) in any or all of the
                      Licensed Languages within the Territory solely by way of Internet Transmission via
                      SVOD and AVOD, the Netflix Service to NEDs (including User Interfaces on
                      same).
               2.1.2. Licensor also grants to Netflix during the Term a limited, non-exclusive right and
                      license to copy, install, compress, uncompress, encode, encrypt, decode, decrypt,
                      display, use, cache, store and transmit the Titles (and associated Source Material)
                      for purposes of such approved exhibition and distribution.
        2.2.        Marketing and Promotion.
               2.2.1.   Trademark License. Licensor grants to Netflix during the Term a limited, non-
                        exclusive right and license to copy, install, display, use, cache, store, transmit,
                        exhibit and distribute Licensor’s trademark(s) and logo(s) identified on Schedule


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                        C (collectively, “Licensor Marks”) for purposes of exercising its rights under this
                        Section 2.
               2.2.2.   Marketing; Pre-promotion. Subject to Section 5.4, Netflix may, commencing
                        sixty (60) calendar days prior to each Title’s Start Date, market and promote the
                        availability of such Title through the any Service here granted.
               2.2.3.   Introductory Segments; Promotion To Non-Subscribers. Licensor grants to
                        Netflix during the Term a limited, non-exclusive right and license to cut each
                        Title to create short promotional clips, each of which shall consist of no more
                        than three (3) consecutive minutes in length of a Title, an “Introductory
                        Segment”. Licensor further grants to Netflix during the Term a limited, non-
                        exclusive right and license to (a) exhibit and distribute, solely by way of Internet
                        Transmission, Source Material (excluding Titles) and Introductory Segments to
                        subscribers and potential subscribers for purposes of marketing and promoting
                        the availability of the Titles through the Netflix Service and (b) copy, install,
                        compress, uncompress, encode, decode, encrypt, decrypt, display, use, cache,
                        store and transmit such materials for purposes of such approved exhibition and
                        distribution. For the avoidance of doubt, Netflix need not encrypt Introductory
                        Segments or trailers.
        2.3.       Encryption; Copy Protection. Netflix shall, at all times during the Term, implement
                   security and copy protection technologies with respect to each Title, including geo-
                   filtering and encryption technologies, that are at least as protective as the then-current
                   industry standard in the Territory and which shall be no less protective than those
                   provided by Netflix to other platforms in the Territory. Once terminated this
                   Agreement by any cause, Netflix shall destroy, eliminate and/or return to Licensee
                   any and all protection copy.
        2.4.       Geo-filtering. Netflix shall, at all times during the Term, implement geo-filtering
                   technology to restrict access to Titles, via the Netflix Service, to subscribers within
                   the Territory that is at least as protective as the then-current industry standard in the
                   Territory and which shall be no less protective than those provided by Netflix to other
                   platforms in the Territory. Notwithstanding the foregoing, Licensor acknowledges
                   that Netflix cannot guarantee that current geo-filtering technology shall be effective
                   in every instance.
        2.5.       For the avoidance of doubt, Netflix may offer the Netflix Service, including the Titles
                   licensed hereunder, on NEDs where a subscriber is required to use a third party
                   service (including without limitation a User Interface) and/or make payment to such
                   third party to use the Netflix Service (whether such payment is for an additional
                   charge in order to access the Netflix Service and/or for the relevant subscription fee
                   for the Netflix Service itself). Such third parties may also offer interactive features,
                   such as on-screen chat functionality or simultaneous or coordinated viewing. By way
                   of example only, the Netflix Service may be offered through a game console such as
                   the Microsoft Xbox, wherein use of the Netflix Service by subscribers through such
                   NED requires the payment of a recurring, material fee to Microsoft Corporation
                   and/or payment of the relevant Netflix Service subscription fee to Microsoft
                   Corporation.
        2.6.       Notwithstanding anything to the contrary in this Agreement, but without in any way
                   limiting Netflix’s security and related obligations pursuant to Sections 2.5 and 2.6 or
                   Netflix’s indemnification obligations pursuant to Section 6.3, Netflix shall not be
                   responsible or liable for any acts or omissions of, or resulting from a consumer’s use
                   of, a third party NED and/or any third party software (including any User Interface).
        2.7.       Exclusivity; Holdbacks. Netflix shall be the exclusive SVOD and AVOD licensee in
                   the Territory during such Title’s Title License Period. Further, during the period
                   commencing on the first day of the Term and continuing through the expiration of the
                   Title License Period, as applicable, Licensor (and its Affiliates) shall not, and shall
                   not license or permit any third party to, license, exhibit, distribute or otherwise



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               exploit such Title in the Territory other than on a Theatrical, Home Video, VOD, or
               purely EST, (e.g., no Basic TV exploitation, no Pay TV exploitation, no SVOD
               exploitation, no AVOD). Holdback against Free TV and Basic Cable only during the
               first 18 months. Licensor acknowledges that this provision and Licensor’s
               performance of its obligations under this Section is essential to Netflix and its
               willingness to enter into this Agreement.
     3. License Fees.
        3.1.   License Fees. Netflix shall pay Licensor the License Net Fee of $4,200,000.00 (Four
               Million Two Hundred Thousand US Dollars and 00/100), including Taxes and
               withholdings, agreeing both parties that any and all discounts, withholdings, taxes or
               similar will be absorbed by the Netflix.
        3.2.   Payment Details. License Fee shall be due and payable as follows: the amount of
               $4,200,000.00 (100%) for two (2) Titles due 365 days after the delivery of the
               required materials as established in this Agreement and as defined on Schedule A.
        3.3.   Taxes. Each party shall, as set forth in more detail in Section 5, indemnify the other
               for failure to pay any Taxes payable by such party pursuant to this Section and/or
               applicable law.
     4. Delivery.
               4.1. Source Material. Licensor shall create and deliver, at its sole expense, Source
                    Material for each Title set forth on Schedule A as of the Effective Date to
                    Netflix no later than ninety (90) calendar days prior to the applicable Start Date
                    or such other date agreed to in writing by the parties. Source Material shall be
                    loaned to Netflix for the purpose of encoding and shall be, at Licensor’s option,
                    either destroyed or, with written notice, returned to Licensor within ninety (90)
                    calendar days of accepted delivery. Licensor shall also provide, at Netflix’s
                    request, accurate music cue sheets for each Title.
               4.2. Specifications. All Source Material shall be provided to Netflix in accordance
                    with the specifications set forth in, and accompanied by all information required
                    by, Schedule B. For the avoidance of doubt, in the event that Source Material is
                    provided in encrypted format, including for example on DVD, Netflix shall be
                    permitted to decrypt such media as necessary prior to encoding and/or encode
                    directly from such media. Notwithstanding anything to the contrary in this
                    Agreement, no advertising elements (pre-roll, bugs, bumpers, placards, etc.) or
                    overlay branding (either Licensor’s or any other third party’s) shall be included
                    before, after or within any Source Material for a Title delivered hereunder.
                    Source Material shall be delivered in the highest quality and resolution available
                    to Licensor (e.g., if not available in 1080p, then delivered in 1080i, or if not
                    available in 1080i, then delivered in 720p), including without limitation High
                    Definition
               4.3. Acceptance. Upon Netflix's receipt of the Source Material for a Title, Netflix
                    shall have thirty (30) calendar days in which to send Licensor written notice of
                    its acceptance ("Notice of Acceptance") or rejection ("Notice of Rejection") of
                    the Source Material for that Title, such acceptance or rejection to be determined
                    by Netflix based solely upon whether such material complies with Schedule B.
               4.4. Rejection. Upon Licensor’s receipt of a Notice of Rejection, if any, Licensor
                    shall, without delay and at its sole expense, replace the defective Source
                    Material. In the event that Licensor is unable to provide an acceptable Source
                    Material replacement, Netflix shall not be obligated to pay any License Fee with
                    respect to the relevant Title.




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     5. Representations and Warranties; Indemnification; Limitation on Liability.
        5.1.      Netflix. Netflix represents, warrants and covenants that (i) it has the full right,
                  power, legal capacity and authority to enter into and fully perform its obligations
                  under this Agreement; (ii) there are not now any liens, claims, encumbrances, legal
                  proceedings, agreements or understandings which might conflict or interfere with,
                  limit, derogate from, be inconsistent with any of Netflix’s representations, warranties
                  or covenants contained in this Section 6.1. (iii) it has satisfied and shall satisfy during
                  the Term all third party obligations of any kind with respect to the obligations
                  acquired by this Agreement and with any third party, including the viewers of
                  Netflix; (iv) Netflix’s distribution and other exploitation of the Titles (and associated
                  Source Material and Introductory Segments) granted by this Agreement to Netflix
                  shall not violate or infringe any rights of any third party, including without limitation
                  any third party intellectual property rights, contract rights, moral rights, rights of
                  publicity, and rights of privacy, or defame or constitute unfair competition against
                  such third party; and (v) Netflix’s distribution and other exploitation of same in
                  accordance with this Agreement shall not violate any applicable law, rule or
                  regulation.
        5.2.      Licensor. Licensor represents, warrants and covenants that (i) it has the full right,
                  power, legal capacity and authority to enter into and fully perform its obligations
                  under this Agreement, and neither it nor an Affiliate has entered into an agreement
                  with another party which is inconsistent with the terms of this Agreement or would
                  otherwise prevent Licensor from fulfilling its obligations as to the Titles or under this
                  Agreement; (ii) it has and shall maintain during the Term all necessary rights, titles,
                  authorizations, consents and interests, including without limitation from all third
                  party rights holders for each Title, necessary to grant Netflix the licenses granted in
                  this Agreement, including without limitation the right to license to Netflix, on an
                  exclusive basis in accordance with Section 3.2, the Titles designated and delivered by
                  Licensor hereunder; (iii) it has satisfied and shall satisfy during the Term all third
                  party obligations of any kind with respect to the Titles (and associated Source
                  Material and Introductory Segments) and their distribution and exploitation in
                  accordance with this Agreement, including without limitation all guild residuals and
                  participations, and Netflix shall have no obligation for any such past, current or future
                  charges or similar payments; (iv) Netflix’s distribution and other exploitation of the
                  Titles (and associated Source Material and Introductory Segments) and Licensor
                  Marks in accordance with this Agreement shall not violate or infringe any rights of
                  any third party, including without limitation any third party intellectual property
                  rights, contract rights, moral rights, rights of publicity, and rights of privacy, or
                  defame or constitute unfair competition against such third party; and (v) the Titles
                  (and associated Source Material and Introductory Segments) and Netflix’s
                  distribution and other exploitation of same in accordance with this Agreement shall
                  not violate any applicable law, rule or regulation.
        5.3.      Indemnification.
               5.3.1. Licensor will defend, indemnify and hold harmless Netflix, its directors,
                      officers and employees from any and all loss, damage, claim, liability or
                      expense (including legal fees and costs) actually incurred as a result of a
                      third party claim (“Claim”) to the extent arising out of a breach or alleged
                      breach of the representations and warranties made in Section 6.1 or (ii)
                      any failure by Licensor to pay any Taxes required to be paid to any
                      governmental entity on monies earned by Licensor hereunder or as a result
                      of Licensor’s performance of its obligations hereunder.
               5.3.2. Netflix will defend, indemnify and hold harmless Licensor, its directors,
                      officers, employees from any and all Claim to the extent arising out of a
                      breach or alleged breach of (i) the representations and warranties made in
                      Section 6.2 and/or (ii) any failure by Netflix to pay any Taxes required to


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                    be paid by Netflix to any governmental entity on monies earned by Netflix
                    hereunder or as a result of Netflix’s performance of its obligations
                    hereunder.
     6. Confidentiality.
     6.1 Confidential Information. Each party acknowledges and agrees that all business and
         technical information provided to it by the other party pursuant to this Agreement
         constitutes confidential and/or proprietary information of the other party
         (“Confidential Information”). Confidential Information shall includes all oral,
         written or recorded confidential and/or proprietary information about or related to the
         disclosing party or its business, including without limitation the terms and conditions
         of this Agreement. Notwithstanding the foregoing, Confidential Information does not
         include information that (i) is or becomes publicly available without breach of this
         Agreement; (ii) can be shown by documentation to have been known to the receiving
         party prior to its receipt from the disclosing party; (iii) is rightfully received from a
         third party who did not acquire or disclose such information by a wrongful or tortious
         act; (iv) can be shown by documentation to have been developed by the receiving
         party without reference to any Confidential Information; or (v) that the receiving
         party becomes legally obligated to disclose to a governmental entity with jurisdiction
         over it.
     6.2 Use of Confidential Information. Neither party shall use the other’s Confidential
         Information for its own use or for any purpose other than as necessary to perform or
         enforce its rights and/or obligations under this Agreement or as required by law, or
         disclose such information to any third party (except for attorneys, accountants, and/or
         the third party contractors identified in Section 9.3, provided such parties have reason
         to know such information and are bound to a confidentiality agreement at least as
         protective as this Section 7). Each party shall take all reasonable measures to protect
         the secrecy of and avoid disclosure of Confidential Information, which measures shall
         be no less than reasonable care and shall include all of those measures that the
         receiving party uses to protect its own Confidential Information. This Section 7 shall
         survive expiration or earlier termination of this Agreement.
     7. Termination.
        7.1.    Either party may terminate this Agreement:
            7.1.1. in the event of a material uncured breach or default by the other party of
                   any of its obligations under this Agreement, provided that (i) notice is
                   provided to the other party in writing and (ii) such breach or default is not
                   cured within thirty (30) calendar days following the date such notice is
                   deemed given, unless such breach or default is by nature uncurable in
                   which case this Agreement shall be terminable on the date of notice; or
            7.1.2. in the event that the other party (i) institutes or otherwise becomes a party,
                   voluntarily or involuntarily, to a proceeding alleging or pertaining to the
                   insolvency or bankruptcy of that party; (ii) is dissolved or liquidated; (iii)
                   makes an assignment of its material assets for the benefit of creditors;
                   and/or (iv) initiates or is subject to reorganization proceedings. This
                   Agreement shall be terminable on the date written notice is deemed given
                   to such party.
        7.2.    No Waiver. Waiver by either party of a single breach or default or a
                succession of breaches or defaults shall not deprive such party of the right to
                terminate this Agreement by reason of any subsequent breach or default.



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        7.3.   Effect of Termination or Expiration. Upon termination or expiration of this
               Agreement, the licenses granted hereunder shall immediately terminate.
               Nothing herein shall be construed to release either party from any obligation
               that matured prior to the effective date of such termination or expiration (or
               which may continue beyond such termination or expiration) or to relieve the
               defaulting party from any and all liabilities at law or in equity to the other for
               breach of this Agreement. Further, in the event that this Agreement is
               terminated due to a material breach or default of Licensor, Licensor shall
               refund or credit to Netflix, at Netflix’s option and within thirty (30) calendar
               days of the effective date of such termination, a prorated amount of the
               aggregate License Fees paid to Licensor, calculated as of the effective date of
               such termination and based upon the amount of time remaining in the relevant
               Title License Periods.
        7.4.   Survival. Those rights and obligations, which by their very nature are
               intended to survive termination or expiration of this Agreement, shall survive,
               including without limitation Sections 1, 2.8, 4.3, 6.3, 6.4, 7, and 8.
     8. General Provisions.
        8.1.   Governing Law; Dispute Resolution. This Agreement was fully negotiated
               and entered into in, and shall be governed by and construed and enforced in
               accordance with the federal laws of United States of Mexico without regard to
               its rules on conflict of laws or any other rules that would result in the
               application of a different body of law. The parties consent to the exclusive
               jurisdiction and venue of the Federal and State Courts located in Mexico,
               Federal District for purposes of any proceeding arising out of or relating to
               this Agreement.
        8.2.   Third Party Contractors. Netflix may use third party contractors (e.g.,
               backend fulfillment providers that encode, encrypt, store and/or host content)
               to exercise its rights and fulfill its obligations pursuant to Section 2; provided,
               however, that Netflix shall be fully responsible for any act or omission, or
               failure of any right or obligation of this Agreement by such a contractor in the
               event that such an act, failure or omission, if performed by Netflix instead of
               such contractor, would constitute a breach by Netflix of this Agreement.
        8.3.   Notice. Notices and other communications required or permitted to be given
               hereunder shall be given in writing and delivered in person, sent via certified
               mail or email, or delivered by nationally-recognized courier service, properly
               addressed and stamped with the required postage, if applicable, to the
               applicable individuals and addresses specified in the signature block below.
               Notice shall be deemed effective upon receipt.
        8.4.   Assignment. Neither this Agreement nor any rights, licenses or obligations
               hereunder may be assigned by either party without the prior written approval
               of the non-assigning party, which shall not be unreasonably withheld or
               delayed. Notwithstanding the foregoing, either party may assign this
               Agreement to any parent of such party, wholly-owned subsidiary of such
               party, or any acquirer of all or of substantially all of such party's equity
               securities or assets, provided that such party provides the non-assigning party
               with prompt written notice. Any purported assignment not in accordance with
               this section shall be void. Subject to the foregoing, this Agreement will
               benefit and bind the parties' successors and assigns.
        8.5.   Severability. If any provision of this Agreement, other than a provision going
               to the essence of the Agreement, is held to be unenforceable pursuant to


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               Section 9.1, such decision shall not affect the validity or enforceability of any
               other provision of this Agreement. Any provision of this Agreement held
               invalid or unenforceable shall, to the extent practicable, be substituted with a
               valid and enforceable provision that achieves the results contemplated by the
               parties in the original provision.
        8.6.   Headings. The headings of Sections and subsections in this Agreement are
               provided for convenience only and shall not affect its construction or
               interpretation.
        8.7.   Counterparts. This Agreement may be executed in two counterparts, each of
               which will be deemed to be an original copy of this Agreement and all of
               which together shall constitute one and the same Agreement.
        8.8.   Entire Agreement. This Agreement supersedes all prior or contemporaneous
               negotiations and agreements (whether oral or written) between the parties with
               respect to the subject matter thereof and constitutes, along with its Exhibits, a
               complete and exclusive statement of the terms and conditions of the
               Agreement between the parties with respect to such subject matter. This
               Agreement may not be amended or modified except by the written agreement
               of both parties. The language of this Agreement is English, and any
               translations shall have no effect and shall not be binding.


     IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by
     their duly authorized representatives as of the date first written above.
     1INMM CAPITAL LLC                              NETFLIX INC.



     By:                                           By:
     Name: Zachary Horwitz                         Name: Funa Maduka
     Title: MANAGING PARTNER____                   Title: VP, Content Acquisition




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                                           Schedule A-1
                                              Titles


     TITLE:                      YULI

     YEAR:                       2019

     START DATE:                 MARCH 04TH, 2019

     LICENSE PERIOD:             36 MONTHS EXCLUSIVE for AVOD and SVOD; 18 months for any
                                 other licensed right according to the terms conditions of the Agreement.

     LICENSE PLATFORM:           SVOD, PAY TV, BASIC TV, AVOD

     LICENSE NET FEE:            $2,100,000.00

     FORMAT:                     HD

     TERRYTORY:                   ALL LATIN AMERICA INCLUDING BRAZIL
     ___________________________________________________________________

     TITLE:                      LUCIA’S GRACE

     YEAR:                       2019

     START DATE:                 MARCH 04TH, 2019

     LICENSE PERIOD:             36 MONTHS EXCLUSIVE for AVOD and SVOD; 18 months for any
                                 other licensed right according to the terms conditions of the Agreement.

     LICENSE PLATFORM:           SVOD, PAY TV, BASIC TV, AVOD

     LICENSE NET FEE:            $2,100,000.00

     FORMAT:                     HD

     TERRYTORY:                   ALL LATIN AMERICA INCLUDING BRAZIL
     ___________________________________________________________________




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        2. Stereo Comp audio only
              a. Channel 1 – Left Total
              b. Channel 2 – Right Total

        3. Mono Comp audio (usually old black-and-white movies, etc.)
             a. Channel 1 – Mono Comp
             b. Channel 2 – Mono Comp

     Primary Digital Asset Specifications

     MPEG-2 Specifications

     High Definition – MPEG-2 (80 Mbps)
            1. Video Codec: MPEG-2
            2. Profile ID: High Profile
            3. Level ID: High Level
            4. Video Bitrate: 80 megabits
            5. Resolution:
                  a. 1920x1080
                  b. 1280x720
            6. Audio Codec:
                       a. Multi-Channel Assignment (if available)
                            i. Acceptable audio codecs
                                  1. Multi-channel PCM – 16bit, 48 kHz (Little Endian)
                                  2. Multi-channel AES3 LPCM (302m) – 16 bit, 48 kHz
                           ii. Channel Mapping
                                  1. Channel 1 – Left
                                  2. Channel 2 – Right
                                  3. Channel 3 – Center
                                  4. Channel 4 – LFE
                                  5. Channel 5 – Left Surround
                                  6. Channel 6 – Right Surround
                                  7. Channel 7 – Left Total
                                  8. Channel 8 – Right Total
                       b. Stereo Assignment (if multi-channel does not exist)
                            i. Acceptable stereo audio codecs
                                  1. PCM – 16 bit, 48 kHz (Little Endian)
                                  2. Stereo AES3 LPCM (302m) – 16 bit, 48 kHz
                                  3. DVD LPCM – 16 bit, 48 kHz
                                  4. MPEG Layer 1 – 48 kHz, 448 kbps
                           ii. Channel Mapping
                                  1. Channel 1 – Left Total
                                  2. Channel 2 – Right Total
            7. Frame rate: (frame rate should match source)
                  a. 23.976 progressive
                  b. 25.00 progressive
                  c. 25.00 interlaced
                  d. 29.97 progressive
                  e. 29.97 interlaced
                  f. 59.94 progressive



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             8. Aspect Ratio:
                     a. 1:1 square pixels
             9. Intra DC Precision: 10-bit
             10. Chroma Format: 4:2:2
             11. GOP Structure: I-frame ONLY
             12. Closed Captioning: As defined in section 3.3 Closed Captioning below
             13. Stream Type: Transport Stream

     Standard Definition – MPEG-2 (50 Mbps)
             1.  Video Codec: MPEG-2
             2.  Profile ID: High Profile
             3.  Level ID: High Level
             4.  Video Bitrate: 50 megabits
             5.  Resolution:
                     a. NTSC or Film: 720x480
                     b. PAL: 720x576
             6. Audio Codec:
                     a. PCM – 48 kHz or 44.1 kHz, 16-bit, stereo (Little Endian)
                     b. DVD LPCM – 48 kHz, 16-bit, stereo
                     c. MPEG Layer 1 – 48 kHz or 44.1 kHz, 16-bit, stereo with minimum data
                         rate of 128 kbps
             7. Frame rate: (please ensure all files are de-interlaced, or have had Inverse-
                 Telecine applied, to make sure the content is progressive and not interlaced)
                     a. 23.976 progressive
                     b. 25.00 progressive
                     c. 25.00 interlaced
                     d. 29.97 progressive
                     e. 29.97 interlaced
             8. Aspect Ratio:
                     a. 4x3 if standard
                     b. 16x9 if anamorphic
             9. Intra DC Precision: 10-bit
             10. Chroma Format: 4:2:2
             11. GOP Structure: I-frame ONLY
             12. Closed Captioning: As defined in section 3.3 Closed Captioning below
             13. Stream Type: Transport Stream

     Subtitle as a Separate File
     The preferred formats for subtitles are text-based WC3 Timed Text Markup Language
     (.dfxp) or SubRip (.srt) formats; otherwise they must be one of the acceptable formats
     listed below. The subtitle file must have time code that is conformed (synced) to the
     digital video file asset. Raster image-based subtitles will not be accepted.

     Acceptable Text-Based Subtitle Files:
        • DFXP
        • SRT
        • SAMI
        • DailyScripts
        • DVD Nav



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         •    Softitler

     Please ensure all subtitle files do not contain advertisements, placards, overlay branding
     or website link callouts.

     If your text-based subtitle format is not listed above please contact NTFLX to discuss
     other options.

     Please follow the file-naming convention specified in section 5 File-Naming Conventions

     Closed Captioning

     Closed Captions as Ancillary Data
     This is the preferred method of delivery. The primary closed caption data must be
     carried within the video stream as Line21 data. For MPEG-2 video, the Line21 captions
     must be carried in the picture user data, as defined in “ATSC Standard: Digital Television
     Standard (A/53), Revision D, section 5.2.”

     Please ensure all caption files do not contain advertisements, placards, overlay branding
     or website link callouts.

     Closed Captioning as Separate File
     If closed captioning must be delivered as a separate file, it must be submitted in one of
     the acceptable formats listed below. The closed caption file must have time code that is
     conformed (synced) to the digital video file asset. Raster image-based closed captioning
     will not be accepted.

     Acceptable Closed Caption Files:
        • SCC
        • DFXP
        • DailyScripts
        • SDI Media
        • Softitler
        • DVD Nav

     Please ensure all caption files do not contain advertisements, placards, overlay branding
     or website link callouts.

     If your closed caption format is not listed above please contact NTFLX to discuss other
     options.

     Please follow the file-naming convention specified in section 5 File Naming Conventions


     Secondary Digital Assets Specifications

     Alternate Language Audio as a Separate File
     If alternate language audio tracks are available, then they should be conformed to the
     primary digital audio/video asset delivered. Acceptable formats for alternate language
     audio tracks are stereo or multichannel AAC (in an MP4 wrapper) or AES3 LPCM audio


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     (in a MPEG-2 Transport Stream, .mpg). Either format should be encoded at the highest
     possible bitrate to maintain fidelity. Please follow the file-naming convention described
     below.

     Acceptable Alternate Language Audio Formats
             1. Audio Codec and Container:
                    a. AAC (Low Complexity) in an MP4 container (.mp4)
             2. Bitrate: Highest bitrate possible
             3. Sample rate: 44.1 kHz or 48 kHz
             4. 5.1 Audio Channel Mapping:
                    a. Channel 1 – Left
                    b. Channel 2 – Right
                    c. Channel 3 – Center
                    d. Channel 4 – LFE
                    e. Channel 5 – Left Surround
                    f. Channel 6 – Right Surround
             5. 2.0 Audio Channel Mapping:
                    a. Channel 1 – Left Total
                    b. Channel 2 – Right Total
     File-Naming Conventions

     Primary Video Asset File-Naming
     The file-naming convention for the MPEG-2 file is as follows:
     [movieID]_[framerate]_[aspectratio]_[bitrate]_[countrycode].mpg

     The country code is used to specify for which country the asset has rights. If the asset
     has rights for a specific country, then the 2-letter country code should be used as
     defined by the ISO 3166-1-alpha-2 code specifications
     (http://www.iso.org/iso/english country names and code elements). If the asset has
     global rights, then the word “global” should be used in place of the 2-letter country
     code.

     Example for High-Definition Files
     60011152_24_178_80_us.mpg
     60028202_60i_185_80_ca.mpg
     60028204_60p_178_80_global.mpg


     Example for Standard-Definition Files
     60028202_24_235_50_fr.mpg


     Alternate Language Audio File-Naming
     The audio filename should follow the same file-naming convention as the primary asset
     file name, with the addition of channel mapping with the file name:

     [movieID]_[framerate]_[aspectratio]_[channel1]_[channel2]_..._[channelX]_[2letterLa
     nguageCode].[ext]



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     Please use the 2-letter language codes as defined in the ISO 639-1 specifications
     (http://www.loc.gov/standards/iso639-2/php/code list.php).

     The filename should match the channel mapping of the audio file.

     Examples:
     70106666_24_178_80_L_R_C_Lfe_Ls_Rs_ca.mp4
     70106666_24_178_80_LT_RT_fr.mpg
     70106667_30_178_80_L_R_C_Lfe_Ls_Rs_es.mp4


     Subtitle File-Naming
     The file-naming convention of closed caption file is as follows:

     [movieID]_[framerate]_[aspectratio]_[2letterLanguageCode].scc
     or named exactly the same as the video asset except with “_2letterLanguageCode” post-
     fixed to the filename of the secondary Closed Caption (CC) file.

     Please use the 2-letter language codes as defined in the ISO 639-1 specifications
     (http://www.loc.gov/standards/iso639-2/php/code list.php).

     Example:
     60028202_24_235_es.scc
     60028202_24_235_en.srt
     72343234_30_133_fr.smi
     72342123_24_178_pt.smi



     Closed Caption File-Naming
     The file-naming convention of the secondary closed caption file is as follows:

     [movieID]_[framerate]_[aspectratio]_[2letterLanguageCode].scc

     Or named exactly the same as the video asset except with “_2letterLanguageCode”
     post-fixed to the filename of the secondary Closed Caption (CC) file.

     Please use the 2-letter language codes as defined in the ISO 639-1 specifications
     (http://www.loc.gov/standards/iso639-2/php/code list.php).

     Example:
     60028202_24_235_es.scc
     60028202_24_235_en.scc
     60028202_24_235_fr.scc
     60028202_24_235_pt.scc




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     Metadata

     Movie Content Metadata
     Movie metadata is required for all content and is to be submitted via the approved
     NTFLX Metadata Template to NTFLX@NTFLX.TV

     All dubbed and/or subtitled content is to be accompanied with the relevant metadata in
     the original and alternate language to support the source delivered.

     Sample metadata files via XMLs may also be submitted and require NTFLX approval prior
     to acceptance.

     Primary and Secondary Assets Metadata
     If metadata for the primary and secondary assets is available via vendor API or file
     (XML,TXT, etc.), NTFLX will require access to the API or sample file for approval prior to
     acceptance.
     Delivery

     Network Delivery via Aspera
     Currently, NTFLX uses Aspera exclusively for network delivery. The Content Supplier
     must push content to NTFLX via Aspera. NTFLX will not pull content.

     Please be prepared to provide the following information in order to set up an Aspera
     account.
         •      Public outbound IP address(es) for which your host(s) will use for transferring
                files to us via Aspera.
         •      Technical contact (name, e-mail and phone number) of the person responsible
                for setting up the Aspera connection on your end.


     Directory Structure and File Organization
     The following folder structure must be followed to organize each group of conformed
     assets. A group of conformed assets must consist of one audio/video muxed primary
     digital asset and any of its other conformed digital assets.

     Folder Structure of external hard drive:

     E:.
     +---[NFLXMovieID] – (directory)
            [DigitalAsset1a] – (file)
            [DigitalAsset1b] – (file)
            [DigitalAsset1c] – (file)

     Example:
     E:.
     +---61234123
     | 61234123_24_178_80_us.mpg
     | 61234123_24_178_80_en.scc
     |


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     +---62345234
     | 62345234_24_235_80_us.mpg
     |
     +---7712332
     | 7712332_60i_133_80_en.scc
     | 7712332_60i_133_80_es.srt
     | 7712332_60i_133_80_us.mpg
     |
     +---79661231
       79661231_30_178_50_ca.mpg
       79661231_30_178_50_en.scc
       79661231_30_178_50_fr.srt
       79661231_30_178_50_LT_RT_es.mp4
       79661231_30_178_50_L_R_C_Lfe_Ls_Rs_fr.mp4
     Artwork
     High-resolution images are required for every title and must be submitted a minimum of
     30 days in advance of licensing start date to NTFLX via any of these options:
                a. Vendor-provided website
                b. FTP (must request access from NTFLX)
                c. Email: alebrije@alebrije.tv

     Artwork is accepted in original and bilingual language formats for all content.

     File-naming convention:
     [NTFLXMovieID].png (or .tiff or .jpg)

     If NTFLX movie ID not known, use movie title:
     [MovieTitle].png (or .tiff or .jpg)

     Examples:
     60028202.jpg
     Terminator2.jpg

     Below are the requirements for submitting artwork to NTFLX. We seek the highest
     quality possible to ensure optimal display for the website and NTFLX-ready devices.



      Artwork Attribute            Description
                                   Box art: 1:1.40 (w:h) aspect ratio. Aspect ratio tolerance: 1:35
      Image Aspect Ratio           through 1:1.45.
      Image Height (h)             Box art: 800 pixels minimum. Higher is better.
                                   Box art: Depends on image height. For example, 570 (w) x 800 (h)
      Image Width (w)              when art is 1:1.40.
      Image Resolution             150 dpi
      Pixel Aspect Ratio           Square (1.0)
                                   RGB Color (8-bits/channel). Conversions from CMYK are
      Color Mode                   undesirable.
      File Format                  Uncompressed (.png, .tiff, etc.). JPEGs acceptable with “maximum


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                             quality” compression.
      Black Point            RGB 0 - 0 - 0
      White Point            RGB 255 - 255 - 255
                             No color profiles assigned (a 2.1/2.2 gamma setting on calibrated
      Color Profile          monitors is assumed).
                             Artwork should be two-dimensional and extend over entire image
      Image Area             area. No extraneous graphics (borders, frames, drop shadows).
                             Art should not have graphical elements (such as Now on DVD,
      Graphical Elements     Widescreen, Coming Soon, Available on Blu-ray, etc.).




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                   EXHIBIT 7
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     PROMISSORY NOTE

     $ (999,619.00)                                                          (6/13/19)

    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, an
    corporation with addresses at                                                (the ''Payee''),
    an amount equal to (NINE HUNDRED NINETY NINE THOUSAND SIX HUNDRED
    NINETEEN) Dollars ($999,619.00) in lawful money of the United States of America,
    which sum shall be due and payable on (12/13/19) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY THOUSAND FIVE HUNDRED) Dollars ($740,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A

     Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
     and that in the event payment of principal or interest due under this Note is not made
     when due, giving effect to any grace period which maybe applicable, the outstanding
     balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
     percent per month, for so long as such event of default continues.

     Validity of Agreement to Conform to Law. All agreements between the undersigned and
     the holder of this Note are expressly limited so that in no contingency or event
     whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
     maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
     be paid to the holder hereof for the use, forbearance or detention of money advanced
     hereunder exceed the highest lawful rate permissible under any law which a court of
     competent jurisdiction may deem applicable hereto. If, from any circumstances
     whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
     any other agreement referred to herein, at the time performance of such provision shall be
     due, shall involve transcending the limit of validity prescribed by law which a court of
     competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
     fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
     holder hereof shall ever receive as interest an amount which would exceed the highest
     lawful rate, such amount which would be excessive interest shall be applied to the




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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.

     Maker’s Default. At the option of the holder hereof exercised by written notice to the
     undersigned, this Note shall become immediately due and payable upon the maker's
     failure to pay when due any payment of principal, interest or expenses due hereunder; or
     (b) failure in the performance or observance of any of the terms or conditions of any
     mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
     otherwise pertaining to this Note after giving effect to any applicable curative period
     which may be contained therein. Upon the occurrence of any of the following specified
     Events of Default, as defined under the standard conventions and terminology prescribed
     for promissory notes drafted under Warren’s California Forms for Principal, Interest,
     Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
     called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
     any Event of Default shall then be continuing, the Payee may, by written notice to the
     Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
     due and payable, whereupon the principal of and such unpaid accrued interest in respect
     of this Note shall become forthwith due and payable without presentment, demand,
     protest or other notice of any kind, all of which are hereby expressly waived by the
     Maker. Furthermore, This note shall become due and payable before the above-
     mentioned maturity date immediately upon the happening of any of the following events
     affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
     petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
     creditors, calling meeting of creditors, appointment of liquidating agent or committee,
     offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
     or for over 30 days, application for appointment or appointment of any receiver, issuance
     of warrant of attachment or death of any maker or indorser or on default of any other
     obligations to the Maker.

     Collection Costs. If this Note or any installment of principal or interest is not paid when
     due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
     collection, including without limitation, actual attorneys' fees, and all expenses in
     connection with the protection or realization of the assets and proceeds available this
     Note or the enforcement of any subsequent memorandum or agreement created in
     conjunction with this Note incurred by the holder hereof on account of such collection,
     whether or not suit is filed hereon or thereon; such costs and expenses shall include,
     without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
     hereof in connection with any insolvency, bankruptcy, arrangement or other similar
     proceedings involving the undersigned, or involving any endorser or guarantor hereof,
     which in anyway affects the exercise by the holder hereof of its rights and remedies under
     this Note or under any mortgage, deed of trust, security agreement, guaranty or other
     agreement securing or pertaining to this Note.

     Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
     nonpayment of this Note and all notices of every kind are hereby waived by all parties to


                                                                                 Exhibit 7 Page 53
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     this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
     provided herein. To the extent permitted by applicable law, the defense of the statute of
     limitations is hereby waived by the undersigned.

     Death of Maker. Maker of this note hereby waives all notice and demand and consent that
     this note shall become due and payable immediately upon the happening of any of said
     events. This note shall become due and payable on the Maturity Date, but payment shall
     be accelerated and become due and payable immediately if the Maker shall die. For the
     further security of the holder thereof, the undersigned covenants that so long as any part
     of the principal or interest of this note is outstanding and unpaid, it will not grant any
     security interest to any third party upon its property, or create any lien whatsoever
     thereon, without also thereby including therein this note, equally and ratably with every
     other evidence of debt, secured by any of the undersigned's property. If, while any part of
     the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
     then the holder hereof may at his or its election, declare and make this note at once due
     and payable by written notice delivered to maker, and this remedy will be deemed
     cumulative and in addition to any other remedy available to the holder hereof. This note
     shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
     cause whatsoever.

     Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
     case of non-payment thereof at maturity, or of any installment thereof when due, may
     grant to the maker or any indorser of said note any extension or extensions of time of
     payment thereof, in whole or in part, without notice to said indorsers or any of them and
     any such extension or extensions shall not affect in any way said indorsers' liability upon
     note, such indorsers hereby waiving demand, presentment of payment, notice of
     nonpayment and protest and do further agree that any holder of this note may in the event
     of default in the payment of principal of, or interest upon, this note or any installment
     thereof repossess and/or sell the (collateral) held as collateral security for the payment of
     this note without in any way relieving said indorsers, or any of them, of any liability by
     reason of such repossession and/or sale, applying the proceeds of sale of any such asset
     less all costs to amount due under this note, and all indorsers agree to pay any deficiency
     on this note on demand.

     Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
     rights under this Note, the unsuccessful party or parties to such litigation, as determined
     by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
     or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
     party or parties (including, without limitation, such costs, expenses and fees on any
     appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
     judgment or decree.

     General Provisions. Principal and interest evidenced hereby are payable only in lawful
     money of the United States. The receipt of a check shall not, in itself, constitute payment
     hereunder unless and until paid in good funds. Whenever any payment on this Note shall
     be stated to be due on a day, which is not a business day, such payment shall be made on


                                                                                  Exhibit 7 Page 54
                                                                                      MOVIEFUND000270
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      the next succeeding business day and such extension of time shall be included in the
      computation of the payment of interest of this Note. This Note is to be governed by and
      construed in accordance with the laws of the State of California except to the extent
      United States federal law permits the holder to contract for, charge or receive a greater
      amount of interest. In any action brought under or arising out of this Note, the
      undersigned hereby consents to the in personam jurisdiction of any state or federal
      court sitting in the state of California, and waives any claim or defense that such forum
      is not convenient or proper, and consents to service of process by any means
      authorized by California and/or Federal law.


      THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
      UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
      OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
      RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
      ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
      HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
      WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
      CONTRACT OR IN TORT OR OTHERWISE.



                                                             06/13/19

      1INMM Capital, LLC                                   Date
      Zachary Horwitz, Manager




                                                                                Exhibit 7 Page 55
                                                                                     MOVIEFUND000271
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                                              APPENDIX A


                                             ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                       (“Assignor”) and Movie Fund LLC, a Corporation
     located at                                          (“Assignee”) is dated effective as of
     (06/13/ 2019).

     For good and valuable consideration, the receipt and sufficiency of which hereby
     acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
     and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
     throughout the universe, until assignee is paid ($999,619.00) at to which time all rights,
     title and interest of every kind and nature revert back to Assignor and to that certain
     motion picture, currently entitled “BEHIND THE WALLS” (the “Picture”) based on the
     original screenplay entitled “BEHIND THE WALLS” written by James Kondelik.

     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                     granted or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                     has in any way been encumbered, conveyed, assigned, transferred or
                     otherwise disposed of and all such rights are therefore free and clear of any
                     and all liens, claims, charges or encumbrances whatsoever in favor of any
                     party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
        hold them harmless from and against any and all claims, liability, losses, damages, costs,
        expenses (including but not limited to attorney’s fees) arising out of any breach by
        Assignor of any warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
        which accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
        any similar law in any country of the world and agrees not to institute or permit any
        action or lawsuit on the ground that the Picture in any way constitutes an infringement
        of any “droit morale” and Assignor agrees that Assignor shall not, under any
        circumstances (including without limitation, the circumstances of a breach by Assignee)
        be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
        rescind any rights granted to Assignee or to obtain any other form of equitable relief,
        specific performance or otherwise, any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
        any person, firm or corporation. Assignee may assign this Assignment and the rights


                                                                                     Exhibit 7 Page 56
                                                                                         MOVIEFUND000272
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         and services granted herein, together with the results and proceeds thereof, and the
         representations and warranties contained herein, to any person or entity.

     6. This Assignment shall be construed in accordance with the laws of the state of California
        and shall be binding upon and shall inure to the benefit of the parties hereto and their
        respective successors, licensees and assigns. This Assignment cannot be amended or
        modified except in a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
     ASSIGNMENT AS OF THE (13)th DAY OF JUNE 2019.



     1INMM CAPITAL, LLC (“Assignor”)                       MOVIE FUND LLC (“Assignee”)



     By: __________________________________                By: _________________________________

     Its: MANAGING PARTNER                                 Its: ________________________________




                                                                                    Exhibit 7 Page 57
                                                                                         MOVIEFUND000273
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     PROMISSORY NOTE

     $ (1,004,304.00)                                                         (6/12/19)

    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, an
    corporation with addresses at (                                             ), (the ''Payee''),
    an amount equal to (ONE MILLION FOUR THOUSAND THREE HUNDRED FOUR)
    Dollars ($1,004,304.00) in lawful money of the United States of America, which sum shall
    be due and payable on (12/12/19) (the ''Maturity Date''), in one (1) balloon payment, in like
    money at said office. Payment date shall be no later than six (6) months post confirmed
    funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED FORTY
    THOUSAND TWO HUNDRED FIFTY) Dollars ($740,250.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A

     Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
     and that in the event payment of principal or interest due under this Note is not made
     when due, giving effect to any grace period which maybe applicable, the outstanding
     balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
     percent per month, for so long as such event of default continues.

     Validity of Agreement to Conform to Law. All agreements between the undersigned and
     the holder of this Note are expressly limited so that in no contingency or event
     whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
     maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
     be paid to the holder hereof for the use, forbearance or detention of money advanced
     hereunder exceed the highest lawful rate permissible under any law which a court of
     competent jurisdiction may deem applicable hereto. If, from any circumstances
     whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
     any other agreement referred to herein, at the time performance of such provision shall be
     due, shall involve transcending the limit of validity prescribed by law which a court of
     competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
     fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
     holder hereof shall ever receive as interest an amount which would exceed the highest
     lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                  Exhibit 7 Page 58
                                                                                      MOVIEFUND000274
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.

     Maker’s Default. At the option of the holder hereof exercised by written notice to the
     undersigned, this Note shall become immediately due and payable upon the maker's
     failure to pay when due any payment of principal, interest or expenses due hereunder; or
     (b) failure in the performance or observance of any of the terms or conditions of any
     mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
     otherwise pertaining to this Note after giving effect to any applicable curative period
     which may be contained therein. Upon the occurrence of any of the following specified
     Events of Default, as defined under the standard conventions and terminology prescribed
     for promissory notes drafted under Warren’s California Forms for Principal, Interest,
     Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
     called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
     any Event of Default shall then be continuing, the Payee may, by written notice to the
     Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
     due and payable, whereupon the principal of and such unpaid accrued interest in respect
     of this Note shall become forthwith due and payable without presentment, demand,
     protest or other notice of any kind, all of which are hereby expressly waived by the
     Maker. Furthermore, This note shall become due and payable before the above-
     mentioned maturity date immediately upon the happening of any of the following events
     affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
     petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
     creditors, calling meeting of creditors, appointment of liquidating agent or committee,
     offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
     or for over 30 days, application for appointment or appointment of any receiver, issuance
     of warrant of attachment or death of any maker or indorser or on default of any other
     obligations to the Maker.

     Collection Costs. If this Note or any installment of principal or interest is not paid when
     due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
     collection, including without limitation, actual attorneys' fees, and all expenses in
     connection with the protection or realization of the assets and proceeds available this
     Note or the enforcement of any subsequent memorandum or agreement created in
     conjunction with this Note incurred by the holder hereof on account of such collection,
     whether or not suit is filed hereon or thereon; such costs and expenses shall include,
     without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
     hereof in connection with any insolvency, bankruptcy, arrangement or other similar
     proceedings involving the undersigned, or involving any endorser or guarantor hereof,
     which in anyway affects the exercise by the holder hereof of its rights and remedies under
     this Note or under any mortgage, deed of trust, security agreement, guaranty or other
     agreement securing or pertaining to this Note.

     Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
     nonpayment of this Note and all notices of every kind are hereby waived by all parties to


                                                                                 Exhibit 7 Page 59
                                                                                     MOVIEFUND000275
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     this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
     provided herein. To the extent permitted by applicable law, the defense of the statute of
     limitations is hereby waived by the undersigned.

     Death of Maker. Maker of this note hereby waives all notice and demand and consent that
     this note shall become due and payable immediately upon the happening of any of said
     events. This note shall become due and payable on the Maturity Date, but payment shall
     be accelerated and become due and payable immediately if the Maker shall die. For the
     further security of the holder thereof, the undersigned covenants that so long as any part
     of the principal or interest of this note is outstanding and unpaid, it will not grant any
     security interest to any third party upon its property, or create any lien whatsoever
     thereon, without also thereby including therein this note, equally and ratably with every
     other evidence of debt, secured by any of the undersigned's property. If, while any part of
     the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
     then the holder hereof may at his or its election, declare and make this note at once due
     and payable by written notice delivered to maker, and this remedy will be deemed
     cumulative and in addition to any other remedy available to the holder hereof. This note
     shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
     cause whatsoever.

     Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
     case of non-payment thereof at maturity, or of any installment thereof when due, may
     grant to the maker or any indorser of said note any extension or extensions of time of
     payment thereof, in whole or in part, without notice to said indorsers or any of them and
     any such extension or extensions shall not affect in any way said indorsers' liability upon
     note, such indorsers hereby waiving demand, presentment of payment, notice of
     nonpayment and protest and do further agree that any holder of this note may in the event
     of default in the payment of principal of, or interest upon, this note or any installment
     thereof repossess and/or sell the (collateral) held as collateral security for the payment of
     this note without in any way relieving said indorsers, or any of them, of any liability by
     reason of such repossession and/or sale, applying the proceeds of sale of any such asset
     less all costs to amount due under this note, and all indorsers agree to pay any deficiency
     on this note on demand.

     Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
     rights under this Note, the unsuccessful party or parties to such litigation, as determined
     by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
     or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
     party or parties (including, without limitation, such costs, expenses and fees on any
     appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
     judgment or decree.

     General Provisions. Principal and interest evidenced hereby are payable only in lawful
     money of the United States. The receipt of a check shall not, in itself, constitute payment
     hereunder unless and until paid in good funds. Whenever any payment on this Note shall
     be stated to be due on a day, which is not a business day, such payment shall be made on


                                                                                  Exhibit 7 Page 60
                                                                                      MOVIEFUND000276
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      the next succeeding business day and such extension of time shall be included in the
      computation of the payment of interest of this Note. This Note is to be governed by and
      construed in accordance with the laws of the State of California except to the extent
      United States federal law permits the holder to contract for, charge or receive a greater
      amount of interest. In any action brought under or arising out of this Note, the
      undersigned hereby consents to the in personam jurisdiction of any state or federal
      court sitting in the state of California, and waives any claim or defense that such forum
      is not convenient or proper, and consents to service of process by any means
      authorized by California and/or Federal law.


      THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
      UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
      OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
      RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
      ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
      HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
      WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
      CONTRACT OR IN TORT OR OTHERWISE.



                                                             06/12/19

      1INMM Capital, LLC                                   Date
      Zachary Horwitz, Manager




                                                                                Exhibit 7 Page 61
                                                                                     MOVIEFUND000277
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                                              APPENDIX A


                                             ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                       (“Assignor”) and Movie Fund LLC, a Corporation
     located at                                          (“Assignee”) is dated effective as of
     (06/12/ 2019).

     For good and valuable consideration, the receipt and sufficiency of which hereby
     acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
     and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
     throughout the universe, until assignee is paid ($1,004,304.00) at to which time all rights,
     title and interest of every kind and nature revert back to Assignor and to that certain
     motion picture, currently entitled “DESOLATION” (the “Picture”) based on the original
     screenplay entitled “DESOLATION” written by Matt Anderson.

     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                     granted or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                     has in any way been encumbered, conveyed, assigned, transferred or
                     otherwise disposed of and all such rights are therefore free and clear of any
                     and all liens, claims, charges or encumbrances whatsoever in favor of any
                     party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
        hold them harmless from and against any and all claims, liability, losses, damages, costs,
        expenses (including but not limited to attorney’s fees) arising out of any breach by
        Assignor of any warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
        which accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
        any similar law in any country of the world and agrees not to institute or permit any
        action or lawsuit on the ground that the Picture in any way constitutes an infringement
        of any “droit morale” and Assignor agrees that Assignor shall not, under any
        circumstances (including without limitation, the circumstances of a breach by Assignee)
        be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
        rescind any rights granted to Assignee or to obtain any other form of equitable relief,
        specific performance or otherwise, any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
        any person, firm or corporation. Assignee may assign this Assignment and the rights


                                                                                     Exhibit 7 Page 62
                                                                                         MOVIEFUND000278
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         and services granted herein, together with the results and proceeds thereof, and the
         representations and warranties contained herein, to any person or entity.

     6. This Assignment shall be construed in accordance with the laws of the state of California
        and shall be binding upon and shall inure to the benefit of the parties hereto and their
        respective successors, licensees and assigns. This Assignment cannot be amended or
        modified except in a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
     ASSIGNMENT AS OF THE (12)th DAY OF JUNE 2019.



     1INMM CAPITAL, LLC (“Assignor”)                       MOVIE FUND LLC (“Assignee”)



     By: __________________________________                By: _________________________________

     Its: MANAGING PARTNER                                 Its: ________________________________




                                                                                    Exhibit 7 Page 63
                                                                                         MOVIEFUND000279
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     PROMISSORY NOTE

     $ (993,694.00)                                                          (6/13/19)

    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, an
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (NINE HUNDRED NINETY THREE THOUSAND SIX HUNDRED
    NINETY FOUR) Dollars ($993,694.00) in lawful money of the United States of America,
    which sum shall be due and payable on (12/13/19) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    THIRTY NINE THOUSAND TWO HUNDRED) Dollars ($739,200.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A

     Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
     and that in the event payment of principal or interest due under this Note is not made
     when due, giving effect to any grace period which maybe applicable, the outstanding
     balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
     percent per month, for so long as such event of default continues.

     Validity of Agreement to Conform to Law. All agreements between the undersigned and
     the holder of this Note are expressly limited so that in no contingency or event
     whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
     maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
     be paid to the holder hereof for the use, forbearance or detention of money advanced
     hereunder exceed the highest lawful rate permissible under any law which a court of
     competent jurisdiction may deem applicable hereto. If, from any circumstances
     whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
     any other agreement referred to herein, at the time performance of such provision shall be
     due, shall involve transcending the limit of validity prescribed by law which a court of
     competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
     fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
     holder hereof shall ever receive as interest an amount which would exceed the highest
     lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                 Exhibit 7 Page 64
                                                                                     MOVIEFUND000280
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.

     Maker’s Default. At the option of the holder hereof exercised by written notice to the
     undersigned, this Note shall become immediately due and payable upon the maker's
     failure to pay when due any payment of principal, interest or expenses due hereunder; or
     (b) failure in the performance or observance of any of the terms or conditions of any
     mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
     otherwise pertaining to this Note after giving effect to any applicable curative period
     which may be contained therein. Upon the occurrence of any of the following specified
     Events of Default, as defined under the standard conventions and terminology prescribed
     for promissory notes drafted under Warren’s California Forms for Principal, Interest,
     Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
     called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
     any Event of Default shall then be continuing, the Payee may, by written notice to the
     Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
     due and payable, whereupon the principal of and such unpaid accrued interest in respect
     of this Note shall become forthwith due and payable without presentment, demand,
     protest or other notice of any kind, all of which are hereby expressly waived by the
     Maker. Furthermore, This note shall become due and payable before the above-
     mentioned maturity date immediately upon the happening of any of the following events
     affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
     petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
     creditors, calling meeting of creditors, appointment of liquidating agent or committee,
     offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
     or for over 30 days, application for appointment or appointment of any receiver, issuance
     of warrant of attachment or death of any maker or indorser or on default of any other
     obligations to the Maker.

     Collection Costs. If this Note or any installment of principal or interest is not paid when
     due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
     collection, including without limitation, actual attorneys' fees, and all expenses in
     connection with the protection or realization of the assets and proceeds available this
     Note or the enforcement of any subsequent memorandum or agreement created in
     conjunction with this Note incurred by the holder hereof on account of such collection,
     whether or not suit is filed hereon or thereon; such costs and expenses shall include,
     without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
     hereof in connection with any insolvency, bankruptcy, arrangement or other similar
     proceedings involving the undersigned, or involving any endorser or guarantor hereof,
     which in anyway affects the exercise by the holder hereof of its rights and remedies under
     this Note or under any mortgage, deed of trust, security agreement, guaranty or other
     agreement securing or pertaining to this Note.

     Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
     nonpayment of this Note and all notices of every kind are hereby waived by all parties to


                                                                                 Exhibit 7 Page 65
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     this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
     provided herein. To the extent permitted by applicable law, the defense of the statute of
     limitations is hereby waived by the undersigned.

     Death of Maker. Maker of this note hereby waives all notice and demand and consent that
     this note shall become due and payable immediately upon the happening of any of said
     events. This note shall become due and payable on the Maturity Date, but payment shall
     be accelerated and become due and payable immediately if the Maker shall die. For the
     further security of the holder thereof, the undersigned covenants that so long as any part
     of the principal or interest of this note is outstanding and unpaid, it will not grant any
     security interest to any third party upon its property, or create any lien whatsoever
     thereon, without also thereby including therein this note, equally and ratably with every
     other evidence of debt, secured by any of the undersigned's property. If, while any part of
     the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
     then the holder hereof may at his or its election, declare and make this note at once due
     and payable by written notice delivered to maker, and this remedy will be deemed
     cumulative and in addition to any other remedy available to the holder hereof. This note
     shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
     cause whatsoever.

     Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
     case of non-payment thereof at maturity, or of any installment thereof when due, may
     grant to the maker or any indorser of said note any extension or extensions of time of
     payment thereof, in whole or in part, without notice to said indorsers or any of them and
     any such extension or extensions shall not affect in any way said indorsers' liability upon
     note, such indorsers hereby waiving demand, presentment of payment, notice of
     nonpayment and protest and do further agree that any holder of this note may in the event
     of default in the payment of principal of, or interest upon, this note or any installment
     thereof repossess and/or sell the (collateral) held as collateral security for the payment of
     this note without in any way relieving said indorsers, or any of them, of any liability by
     reason of such repossession and/or sale, applying the proceeds of sale of any such asset
     less all costs to amount due under this note, and all indorsers agree to pay any deficiency
     on this note on demand.

     Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
     rights under this Note, the unsuccessful party or parties to such litigation, as determined
     by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
     or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
     party or parties (including, without limitation, such costs, expenses and fees on any
     appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
     judgment or decree.

     General Provisions. Principal and interest evidenced hereby are payable only in lawful
     money of the United States. The receipt of a check shall not, in itself, constitute payment
     hereunder unless and until paid in good funds. Whenever any payment on this Note shall
     be stated to be due on a day, which is not a business day, such payment shall be made on


                                                                                  Exhibit 7 Page 66
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      the next succeeding business day and such extension of time shall be included in the
      computation of the payment of interest of this Note. This Note is to be governed by and
      construed in accordance with the laws of the State of California except to the extent
      United States federal law permits the holder to contract for, charge or receive a greater
      amount of interest. In any action brought under or arising out of this Note, the
      undersigned hereby consents to the in personam jurisdiction of any state or federal
      court sitting in the state of California, and waives any claim or defense that such forum
      is not convenient or proper, and consents to service of process by any means
      authorized by California and/or Federal law.


      THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
      UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
      OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
      RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
      ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
      HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
      WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
      CONTRACT OR IN TORT OR OTHERWISE.



                                                             06/13/19

      1INMM Capital, LLC                                   Date
      Zachary Horwitz, Manager




                                                                                Exhibit 7 Page 67
                                                                                     MOVIEFUND000283
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                                             APPENDIX A


                                            ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                       (“Assignor”) and Movie Fund LLC, a Corporation
     located at                                          (“Assignee”) is dated effective as of
     (06/13/ 2019).

     For good and valuable consideration, the receipt and sufficiency of which hereby
     acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
     and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
     throughout the universe, until assignee is paid ($993,694.00) at to which time all rights,
     title and interest of every kind and nature revert back to Assignor and to that certain
     motion picture, currently entitled “DON’T COME BACK FROM THE MOON” (the “Picture”)
     based on the original screenplay entitled “DON’T COME BACK FROM THE MOON” written by
     DEAN BAKOPOULOS.

     1. Assignor hereby represents and warrants:

            1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                    granted or to be granted to Assignee hereunder.
            1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                    Assignment.
            1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                    has in any way been encumbered, conveyed, assigned, transferred or
                    otherwise disposed of and all such rights are therefore free and clear of any
                    and all liens, claims, charges or encumbrances whatsoever in favor of any
                    party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
        hold them harmless from and against any and all claims, liability, losses, damages, costs,
        expenses (including but not limited to attorney’s fees) arising out of any breach by
        Assignor of any warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
        which accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
        any similar law in any country of the world and agrees not to institute or permit any
        action or lawsuit on the ground that the Picture in any way constitutes an infringement
        of any “droit morale” and Assignor agrees that Assignor shall not, under any
        circumstances (including without limitation, the circumstances of a breach by Assignee)
        be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
        rescind any rights granted to Assignee or to obtain any other form of equitable relief,
        specific performance or otherwise, any right to which Assignor expressly waives.




                                                                                    Exhibit 7 Page 68
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     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
        any person, firm or corporation. Assignee may assign this Assignment and the rights
        and services granted herein, together with the results and proceeds thereof, and the
        representations and warranties contained herein, to any person or entity.

     6. This Assignment shall be construed in accordance with the laws of the state of California
        and shall be binding upon and shall inure to the benefit of the parties hereto and their
        respective successors, licensees and assigns. This Assignment cannot be amended or
        modified except in a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
     ASSIGNMENT AS OF THE (13)th DAY OF JUNE 2019.



     1INMM CAPITAL, LLC (“Assignor”)                       MOVIE FUND LLC (“Assignee”)



     By: __________________________________               By: _________________________________

     Its: MANAGING PARTNER                                Its: ________________________________




                                                                                   Exhibit 7 Page 69
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     PROMISSORY NOTE

     $ (1,002,619.00)                                                         (6/12/19)

    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, an
    corporation with addresses at (                                             ), (the ''Payee''),
    an amount equal to (ONE MILLION TWO THOUSAND SIX HUNDRED NINETEEN)
    Dollars ($1,002,619.00) in lawful money of the United States of America, which sum shall
    be due and payable on (12/12/19) (the ''Maturity Date''), in one (1) balloon payment, in like
    money at said office. Payment date shall be no later than six (6) months post confirmed
    funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED FORTY ONE
    THOUSAND FIVE HUNDRED) Dollars ($741,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A

     Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
     and that in the event payment of principal or interest due under this Note is not made
     when due, giving effect to any grace period which maybe applicable, the outstanding
     balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
     percent per month, for so long as such event of default continues.

     Validity of Agreement to Conform to Law. All agreements between the undersigned and
     the holder of this Note are expressly limited so that in no contingency or event
     whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
     maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
     be paid to the holder hereof for the use, forbearance or detention of money advanced
     hereunder exceed the highest lawful rate permissible under any law which a court of
     competent jurisdiction may deem applicable hereto. If, from any circumstances
     whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
     any other agreement referred to herein, at the time performance of such provision shall be
     due, shall involve transcending the limit of validity prescribed by law which a court of
     competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
     fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
     holder hereof shall ever receive as interest an amount which would exceed the highest
     lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                  Exhibit 7 Page 70
                                                                                      MOVIEFUND000286
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.

     Maker’s Default. At the option of the holder hereof exercised by written notice to the
     undersigned, this Note shall become immediately due and payable upon the maker's
     failure to pay when due any payment of principal, interest or expenses due hereunder; or
     (b) failure in the performance or observance of any of the terms or conditions of any
     mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
     otherwise pertaining to this Note after giving effect to any applicable curative period
     which may be contained therein. Upon the occurrence of any of the following specified
     Events of Default, as defined under the standard conventions and terminology prescribed
     for promissory notes drafted under Warren’s California Forms for Principal, Interest,
     Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
     called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
     any Event of Default shall then be continuing, the Payee may, by written notice to the
     Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
     due and payable, whereupon the principal of and such unpaid accrued interest in respect
     of this Note shall become forthwith due and payable without presentment, demand,
     protest or other notice of any kind, all of which are hereby expressly waived by the
     Maker. Furthermore, This note shall become due and payable before the above-
     mentioned maturity date immediately upon the happening of any of the following events
     affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
     petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
     creditors, calling meeting of creditors, appointment of liquidating agent or committee,
     offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
     or for over 30 days, application for appointment or appointment of any receiver, issuance
     of warrant of attachment or death of any maker or indorser or on default of any other
     obligations to the Maker.

     Collection Costs. If this Note or any installment of principal or interest is not paid when
     due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
     collection, including without limitation, actual attorneys' fees, and all expenses in
     connection with the protection or realization of the assets and proceeds available this
     Note or the enforcement of any subsequent memorandum or agreement created in
     conjunction with this Note incurred by the holder hereof on account of such collection,
     whether or not suit is filed hereon or thereon; such costs and expenses shall include,
     without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
     hereof in connection with any insolvency, bankruptcy, arrangement or other similar
     proceedings involving the undersigned, or involving any endorser or guarantor hereof,
     which in anyway affects the exercise by the holder hereof of its rights and remedies under
     this Note or under any mortgage, deed of trust, security agreement, guaranty or other
     agreement securing or pertaining to this Note.

     Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
     nonpayment of this Note and all notices of every kind are hereby waived by all parties to


                                                                                 Exhibit 7 Page 71
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     this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
     provided herein. To the extent permitted by applicable law, the defense of the statute of
     limitations is hereby waived by the undersigned.

     Death of Maker. Maker of this note hereby waives all notice and demand and consent that
     this note shall become due and payable immediately upon the happening of any of said
     events. This note shall become due and payable on the Maturity Date, but payment shall
     be accelerated and become due and payable immediately if the Maker shall die. For the
     further security of the holder thereof, the undersigned covenants that so long as any part
     of the principal or interest of this note is outstanding and unpaid, it will not grant any
     security interest to any third party upon its property, or create any lien whatsoever
     thereon, without also thereby including therein this note, equally and ratably with every
     other evidence of debt, secured by any of the undersigned's property. If, while any part of
     the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
     then the holder hereof may at his or its election, declare and make this note at once due
     and payable by written notice delivered to maker, and this remedy will be deemed
     cumulative and in addition to any other remedy available to the holder hereof. This note
     shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
     cause whatsoever.

     Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
     case of non-payment thereof at maturity, or of any installment thereof when due, may
     grant to the maker or any indorser of said note any extension or extensions of time of
     payment thereof, in whole or in part, without notice to said indorsers or any of them and
     any such extension or extensions shall not affect in any way said indorsers' liability upon
     note, such indorsers hereby waiving demand, presentment of payment, notice of
     nonpayment and protest and do further agree that any holder of this note may in the event
     of default in the payment of principal of, or interest upon, this note or any installment
     thereof repossess and/or sell the (collateral) held as collateral security for the payment of
     this note without in any way relieving said indorsers, or any of them, of any liability by
     reason of such repossession and/or sale, applying the proceeds of sale of any such asset
     less all costs to amount due under this note, and all indorsers agree to pay any deficiency
     on this note on demand.

     Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
     rights under this Note, the unsuccessful party or parties to such litigation, as determined
     by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
     or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
     party or parties (including, without limitation, such costs, expenses and fees on any
     appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
     judgment or decree.

     General Provisions. Principal and interest evidenced hereby are payable only in lawful
     money of the United States. The receipt of a check shall not, in itself, constitute payment
     hereunder unless and until paid in good funds. Whenever any payment on this Note shall
     be stated to be due on a day, which is not a business day, such payment shall be made on


                                                                                  Exhibit 7 Page 72
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      the next succeeding business day and such extension of time shall be included in the
      computation of the payment of interest of this Note. This Note is to be governed by and
      construed in accordance with the laws of the State of California except to the extent
      United States federal law permits the holder to contract for, charge or receive a greater
      amount of interest. In any action brought under or arising out of this Note, the
      undersigned hereby consents to the in personam jurisdiction of any state or federal
      court sitting in the state of California, and waives any claim or defense that such forum
      is not convenient or proper, and consents to service of process by any means
      authorized by California and/or Federal law.


      THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
      UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
      OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
      RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
      ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
      HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
      WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
      CONTRACT OR IN TORT OR OTHERWISE.



                                                             06/12/19

      1INMM Capital, LLC                                   Date
      Zachary Horwitz, Manager




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                                              APPENDIX A


                                             ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                                 and Movie Fund LLC, a Corporation
     located at                                        (“Assignee”) is dated effective as of
     (06/12/ 2019).

     For good and valuable consideration, the receipt and sufficiency of which hereby
     acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
     and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
     throughout the universe, until assignee is paid ($1,002,619.00) at to which time all rights,
     title and interest of every kind and nature revert back to Assignor and to that certain
     motion picture, currently entitled “PYEWACKET” (the “Picture”) based on the original
     screenplay entitled “PYEWACKET” written by Adam MacDonald.

     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                     granted or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                     has in any way been encumbered, conveyed, assigned, transferred or
                     otherwise disposed of and all such rights are therefore free and clear of any
                     and all liens, claims, charges or encumbrances whatsoever in favor of any
                     party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
        hold them harmless from and against any and all claims, liability, losses, damages, costs,
        expenses (including but not limited to attorney’s fees) arising out of any breach by
        Assignor of any warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
        which accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
        any similar law in any country of the world and agrees not to institute or permit any
        action or lawsuit on the ground that the Picture in any way constitutes an infringement
        of any “droit morale” and Assignor agrees that Assignor shall not, under any
        circumstances (including without limitation, the circumstances of a breach by Assignee)
        be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
        rescind any rights granted to Assignee or to obtain any other form of equitable relief,
        specific performance or otherwise, any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
        any person, firm or corporation. Assignee may assign this Assignment and the rights


                                                                                     Exhibit 7 Page 74
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         and services granted herein, together with the results and proceeds thereof, and the
         representations and warranties contained herein, to any person or entity.

     6. This Assignment shall be construed in accordance with the laws of the state of California
        and shall be binding upon and shall inure to the benefit of the parties hereto and their
        respective successors, licensees and assigns. This Assignment cannot be amended or
        modified except in a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
     ASSIGNMENT AS OF THE (12)th DAY OF JUNE 2019.



     1INMM CAPITAL, LLC (“Assignor”)                       MOVIE FUND LLC (“Assignee”)



     By: __________________________________                By: _________________________________

     Its: MANAGING PARTNER                                 Its: ________________________________




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                                                                                         MOVIEFUND000291
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           PROMISSORY NOTE
    	  
           $ (1,004,638.00)                                                        (07/23/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION FOUR THOUSAND SIX HUNDRED THIRTY-
    EIGHT) Dollars ($1,004,638.00) in lawful money of the United States of America, which
    sum shall be due and payable on (01/23/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-FOUR THOUSAND FIVE HUNDRED) Dollars ($744,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                      Exhibit 7 Page 76
                                                                                           MOVIEFUND000292
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                       Exhibit 7 Page 77
                                                                                           MOVIEFUND000293
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                        Exhibit 7 Page 78
                                                                                            MOVIEFUND000294
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            7/23/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                          Exhibit 7 Page 79
                                                                                             MOVIEFUND000295
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                               (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (07/23/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,004,638.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “AMONG THE SHADOWS” (the “Picture”) based on the original screenplay entitled “AMONG
     THE SHADOWS” written by Mark Morgan.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                       Exhibit 7 Page 80
                                                                                           MOVIEFUND000296
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (23)rd DAY OF JULY 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                        Exhibit 7 Page 81
                                                                                             MOVIEFUND000297
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           PROMISSORY NOTE
    	  
           $ (1,004,335.00)                                                        (08/05/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                              (the ''Payee''),
    an amount equal to (ONE MILLION FOUR THOUSAND THREE HUNDRED THIRTY-
    FIVE) Dollars ($1,004,335.00) in lawful money of the United States of America, which
    sum shall be due and payable on (02/05/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-SIX THOUSAND FIVE HUNDRED) Dollars ($746,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                      Exhibit 7 Page 82
                                                                                           MOVIEFUND000298
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                       Exhibit 7 Page 83
                                                                                           MOVIEFUND000299
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                        Exhibit 7 Page 84
                                                                                            MOVIEFUND000300
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            08/05/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 85
                                                                                              MOVIEFUND000301
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (08/05/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,004,335.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “APPARITION” (the “Picture”) based on the original screenplay entitled “APPARITION”
     written by Waymon Boone.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                       Exhibit 7 Page 86
                                                                                           MOVIEFUND000302
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (5)th DAY OF AUGUST 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                        Exhibit 7 Page 87
                                                                                             MOVIEFUND000303
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           PROMISSORY NOTE
    	  
           $ (1,003,639.00)                                                        (07/08/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION THREE THOUSAND SIX HUNDRED THIRTY
    NINE) Dollars ($1,003,639.00) in lawful money of the United States of America, which
    sum shall be due and payable on (01/8/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-FIVE THOUSAND FIVE HUNDRED) Dollars ($745,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                      Exhibit 7 Page 88
                                                                                           MOVIEFUND000304
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                       Exhibit 7 Page 89
                                                                                           MOVIEFUND000305
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                        Exhibit 7 Page 90
                                                                                            MOVIEFUND000306
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	      07/08/2019
     	  
            1INMM Capital, LLC                                          Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                       Exhibit 7 Page 91
                                                                                           MOVIEFUND000307
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                               (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of (07/08/
     2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,003,639.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “BRAHMS: THE BOY II” (the “Picture”) based on the original screenplay entitled “BRAHMS:
     THE BOY II” written by Stacey Menear.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                       Exhibit 7 Page 92
                                                                                           MOVIEFUND000308
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (8)th DAY OF JULY 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                        Exhibit 7 Page 93
                                                                                             MOVIEFUND000309
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           PROMISSORY NOTE
    	  
           $ (997,395.00)                                                          (08/02/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                             (the ''Payee''),
    an amount equal to (NINE HUNDRED NINETY-SEVEN THOUSAND THREE
    HUNDRED NINETY-FIVE) Dollars ($997,395.00) in lawful money of the United States
    of America, which sum shall be due and payable on (02/02/2020) (the ''Maturity Date''), in
    one (1) balloon payment, in like money at said office. Payment date shall be no later than
    six (6) months post confirmed funds transfer from Payee to Maker in the amount of
    (SEVEN HUNDRED THIRTY-SEVEN THOUSAND FIVE HUNDRED) Dollars
    ($737,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                      Exhibit 7 Page 94
                                                                                           MOVIEFUND000310
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                       Exhibit 7 Page 95
                                                                                           MOVIEFUND000311
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                        Exhibit 7 Page 96
                                                                                            MOVIEFUND000312
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            08/02/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 97
                                                                                              MOVIEFUND000313
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                                                APPENDIX A


                                                ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (08/02/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($997,395.00) at to which time all rights, title and interest of every
     kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “CREATING CHAMPIONS” (the “Picture”) based on the original screenplay entitled
     “CREATING CHAMPIONS” written by Tarshia Dutta.
     	  
     1. Assignor hereby represents and warrants:

             1.1.     That Assignor is the sole and exclusive owner of the rights and privileges granted
                      or to be granted to Assignee hereunder.
             1.2.     That, as of the effective date hereof, Assignor has the right to enter into this
                      Assignment.
             1.3.     That, as of the effective date hereof, no part of the rights herein conveyed has in
                      any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                      of and all such rights are therefore free and clear of any and all liens, claims,
                      charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                         Exhibit 7 Page 98
                                                                                              MOVIEFUND000314
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (2)nd DAY OF AUGUST 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                        Exhibit 7 Page 99
                                                                                             MOVIEFUND000315
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           PROMISSORY NOTE
    	  
           $ (997,836.00)                                                          (08/02/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                           ), (the ''Payee''),
    an amount equal to (NINE HUNDRED NINETY-SEVEN THOUSAND EIGHT
    HUNDRED THIRTY-SIX) Dollars ($997,836.00) in lawful money of the United States of
    America, which sum shall be due and payable on (02/02/2020) (the ''Maturity Date''), in
    one (1) balloon payment, in like money at said office. Payment date shall be no later than
    six (6) months post confirmed funds transfer from Payee to Maker in the amount of
    (SEVEN HUNDRED THIRTY-FIVE THOUSAND) Dollars ($735,000.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 100
                                                                                           MOVIEFUND000316
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 101
                                                                                           MOVIEFUND000317
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 102
                                                                                            MOVIEFUND000318
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            08/02/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 103
                                                                                               MOVIEFUND000319
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                                                APPENDIX A


                                                ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (08/02/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($997,836.00) at to which time all rights, title and interest of every
     kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “FUNHOUSE” (the “Picture”) based on the original screenplay entitled “FUNHOUSE” written
     by Jason William Lee.
     	  
     1. Assignor hereby represents and warrants:

             1.1.     That Assignor is the sole and exclusive owner of the rights and privileges granted
                      or to be granted to Assignee hereunder.
             1.2.     That, as of the effective date hereof, Assignor has the right to enter into this
                      Assignment.
             1.3.     That, as of the effective date hereof, no part of the rights herein conveyed has in
                      any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                      of and all such rights are therefore free and clear of any and all liens, claims,
                      charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                        Exhibit 7 Page 104
                                                                                              MOVIEFUND000320
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (2)nd DAY OF AUGUST 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 105
                                                                                             MOVIEFUND000321
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           PROMISSORY NOTE
    	  
           $ (1,002,684.00)                                                        (09/04/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION TWO THOUSAND SIX HUNDRED EIGHTY
    FOUR) Dollars ($1,002,684.00) in lawful money of the United States of America, which
    sum shall be due and payable on (03/04/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-THREE THOUSAND FIVE HUNDRED) Dollars ($743,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 106
                                                                                           MOVIEFUND000322
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 107
                                                                                           MOVIEFUND000323
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 108
                                                                                             MOVIEFUND000324
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            09/04/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 109
                                                                                               MOVIEFUND000325
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (09/04/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,002,684.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “INDIVISIBLE” (the “Picture”) based on the original screenplay entitled “INDIVISIBLE”
     written by David G. Evans.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 110
                                                                                           MOVIEFUND000326
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (4)th DAY OF SEPTEMBER 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 111
                                                                                             MOVIEFUND000327
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           PROMISSORY NOTE
    	  
           $ (1,008,696.00)                                                        (08/05/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                               (the ''Payee''),
    an amount equal to (ONE MILLION EIGHT THOUSAND SIX HUNDRED NINETY-
    SIX) Dollars ($1,008,696.00) in lawful money of the United States of America, which sum
    shall be due and payable on (02/05/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY SIX THOUSAND FIVE HUNDRED) Dollars ($746,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 112
                                                                                           MOVIEFUND000328
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 113
                                                                                           MOVIEFUND000329
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 114
                                                                                            MOVIEFUND000330
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            08/05/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 115
                                                                                               MOVIEFUND000331
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (08/05/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,008,696.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “KILL CHAIN” (the “Picture”) based on the original screenplay entitled “KILL CHAIN” written
     by Ken Sanzel.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 116
                                                                                           MOVIEFUND000332
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (5)th DAY OF AUGUST 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 117
                                                                                             MOVIEFUND000333
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           PROMISSORY NOTE
    	  
           $ (1,005,316.00)                                                        (09/05/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                             ), (the ''Payee''),
    an amount equal to (ONE MILLION FIVE THOUSAND THREE HUNDRED SIXTEEN)
    Dollars ($1,005,316.00) in lawful money of the United States of America, which sum shall
    be due and payable on (03/05/2020) (the ''Maturity Date''), in one (1) balloon payment, in
    like money at said office. Payment date shall be no later than six (6) months post confirmed
    funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED FORTY-
    THREE THOUSAND FIVE HUNDRED) Dollars ($743,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 118
                                                                                           MOVIEFUND000334
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 119
                                                                                           MOVIEFUND000335
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 120
                                                                                             MOVIEFUND000336
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            09/05/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 121
                                                                                               MOVIEFUND000337
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                               (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                           101) (“Assignee”) is dated effective as of
     (09/05/2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,005,316.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “K.O.” (the “Picture”) based on the original screenplay entitled “K.O.” written by Valentine
     Arnaud.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 122
                                                                                           MOVIEFUND000338
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (5)th DAY OF SEPTEMBER 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 123
                                                                                             MOVIEFUND000339
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           PROMISSORY NOTE
    	  
           $ (1,007,198.00)                                                        (07/09/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION SEVEN THOUSAND ONE HUNDRED NINETY
    EIGHT) Dollars ($1,007,198.00) in lawful money of the United States of America, which
    sum shall be due and payable on (01/09/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-TWO THOUSAND) Dollars ($742,000.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 124
                                                                                           MOVIEFUND000340
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 125
                                                                                           MOVIEFUND000341
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 126
                                                                                            MOVIEFUND000342
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            7/09/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                          Exhibit 7 Page 127
                                                                                              MOVIEFUND000343
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                               (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (07/09/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,007,198.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “LOST GIRLS AND LOVE HOTELS” (the “Picture”) based on the original screenplay entitled
     “LOST GIRLS AND LOVE HOTELS” written by Catherine Hanrahan.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 128
                                                                                           MOVIEFUND000344
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (9)th DAY OF JULY 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 129
                                                                                             MOVIEFUND000345
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           PROMISSORY NOTE
    	  
           $ (1,001,942.00)                                                        (07/08/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION ONE THOUSAND NINE HUNDRED FORTY-
    TWO) Dollars ($1,001,942.00) in lawful money of the United States of America, which
    sum shall be due and payable on (01/8/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-ONE THOUSAND FIVE HUNDRED) Dollars ($741,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 130
                                                                                           MOVIEFUND000346
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 131
                                                                                           MOVIEFUND000347
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 132
                                                                                            MOVIEFUND000348
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	      07/08/2019
     	  
            1INMM Capital, LLC                                          Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                     Exhibit 7 Page 133
                                                                                           MOVIEFUND000349
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (07/08/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,001,942.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “MARFA” (the “Picture”) based on the original screenplay entitled “MARFA” written by Andy
     Stapp.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 134
                                                                                           MOVIEFUND000350
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (8)th DAY OF JULY 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 135
                                                                                             MOVIEFUND000351
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           PROMISSORY NOTE
    	  
           $ (1,000,921.00)                                                        (09/05/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at                                              ), (the ''Payee''),
    an amount equal to (ONE MILLION NINE HUNDRED TWENTY-ONE) Dollars
    ($1,000,921.00) in lawful money of the United States of America, which sum shall be due
    and payable on (03/05/2020) (the ''Maturity Date''), in one (1) balloon payment, in like
    money at said office. Payment date shall be no later than six (6) months post confirmed
    funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED FORTY-
    THOUSAND TWO HUNDRED FIFTY) Dollars ($740,250.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 136
                                                                                           MOVIEFUND000352
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 137
                                                                                           MOVIEFUND000353
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 138
                                                                                             MOVIEFUND000354
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            09/05/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 139
                                                                                               MOVIEFUND000355
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                                 (“Assignee”) is dated effective as of
     (09/05/2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,000,921.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “ONCE UPON A TIME IN VENICE” (the “Picture”) based on the original screenplay entitled
     “ONCE UPON A TIME IN VENICE” written by Mark Cullen.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 140
                                                                                           MOVIEFUND000356
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (5)th DAY OF SEPTEMBER 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 141
                                                                                             MOVIEFUND000357
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           PROMISSORY NOTE
    	  
           $ (1,009,261.00)                                                        (07/09/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                             ), (the ''Payee''),
    an amount equal to (ONE MILLION NINE THOUSAND TWO HUNDRED SIXTY-ONE)
    Dollars ($1,009,261.00) in lawful money of the United States of America, which sum shall
    be due and payable on (01/09/2020) (the ''Maturity Date''), in one (1) balloon payment, in
    like money at said office. Payment date shall be no later than six (6) months post confirmed
    funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED FORTY-
    THREE THOUSAND FIVE HUNDRED) Dollars ($743,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 142
                                                                                           MOVIEFUND000358
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 143
                                                                                           MOVIEFUND000359
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 144
                                                                                            MOVIEFUND000360
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            7/09/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                          Exhibit 7 Page 145
                                                                                              MOVIEFUND000361
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (07/09/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,009,261.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “ONLY” (the “Picture”) based on the original screenplay entitled “ONLY” written by Takashi
     Doscher.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 146
                                                                                           MOVIEFUND000362
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (9)th DAY OF JULY 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 147
                                                                                             MOVIEFUND000363
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           PROMISSORY NOTE
    	  
           $ (1,004,559.00)                                                        (09/04/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION FOUR THOUSAND FIVE HUNDRED FIFTY-
    NINE) Dollars ($1,004,559.00) in lawful money of the United States of America, which
    sum shall be due and payable on (03/04/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-FOUR THOUSAND EIGHT HUNDRED) Dollars ($744,800.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 148
                                                                                           MOVIEFUND000364
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 149
                                                                                           MOVIEFUND000365
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 150
                                                                                             MOVIEFUND000366
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            09/04/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 151
                                                                                               MOVIEFUND000367
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (09/04/2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,004,559.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “REBORN” (the “Picture”) based on the original screenplay entitled “REBORN” written by Hai
     Lung Li.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 152
                                                                                           MOVIEFUND000368
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (4)th DAY OF SEPTEMBER 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 153
                                                                                             MOVIEFUND000369
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           PROMISSORY NOTE
    	  
           $ (1,009,459.00)                                                        (08/05/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION NINE THOUSAND FOUR HUNDRED FIFTY-
    NINE) Dollars ($1,009,459.00) in lawful money of the United States of America, which
    sum shall be due and payable on (02/05/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY SIX THOUSAND TWO HUNDRED) Dollars ($746,200.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 154
                                                                                           MOVIEFUND000370
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 155
                                                                                           MOVIEFUND000371
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 156
                                                                                            MOVIEFUND000372
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            08/05/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 157
                                                                                               MOVIEFUND000373
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (08/05/ 2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,009,459.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “TESLA” (the “Picture”) based on the original screenplay entitled “TESLA” written by Michael
     Almereyda.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 158
                                                                                           MOVIEFUND000374
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (5)th DAY OF AUGUST 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 159
                                                                                             MOVIEFUND000375
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           PROMISSORY NOTE
    	  
           $ (997,713.00)                                                          (10/14/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                             (the ''Payee''),
    an amount equal to (NINE HUNDRED NINETY-SEVEN THOUSAND SEVEN
    HUNDRED THIRTEEN) Dollars ($997,713.00) in lawful money of the United States of
    America, which sum shall be due and payable on (04/14/2020) (the ''Maturity Date''), in
    one (1) balloon payment, in like money at said office. Payment date shall be no later than
    six (6) months post confirmed funds transfer from Payee to Maker in the amount of
    (SEVEN HUNDRED THIRTY-EIGHT THOUSAND FIVE HUNDRED) Dollars
    ($738,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 160
                                                                                           MOVIEFUND000376
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 161
                                                                                           MOVIEFUND000377
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 162
                                                                                             MOVIEFUND000378
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            10/14/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 163
                                                                                               MOVIEFUND000379
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                                                APPENDIX A


                                                ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (10/14/2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($997,713.00) at to which time all rights, title and interest of every
     kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “CHAMPION” (the “Picture”) based on the original screenplay entitled “CHAMPION” written
     by Yong-wan Kim.
     	  
     1. Assignor hereby represents and warrants:

             1.1.     That Assignor is the sole and exclusive owner of the rights and privileges granted
                      or to be granted to Assignee hereunder.
             1.2.     That, as of the effective date hereof, Assignor has the right to enter into this
                      Assignment.
             1.3.     That, as of the effective date hereof, no part of the rights herein conveyed has in
                      any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                      of and all such rights are therefore free and clear of any and all liens, claims,
                      charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                        Exhibit 7 Page 164
                                                                                              MOVIEFUND000380
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (14)th DAY OF OCTOBER, 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 165
                                                                                             MOVIEFUND000381
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           PROMISSORY NOTE
    	  
           $ (999,265.00)                                                          (10/11/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                           ), (the ''Payee''),
    an amount equal to (NINE HUNDRED NINETY-NINE THOUSAND TWO HUNDRED
    SIXTY-FIVE) Dollars ($999,265.00) in lawful money of the United States of America,
    which sum shall be due and payable on (04/11/2020) (the ''Maturity Date''), in one (1)
    balloon payment, in like money at said office. Payment date shall be no later than six (6)
    months post confirmed funds transfer from Payee to Maker in the amount of (SEVEN
    HUNDRED FORTY-TWO THOUSAND EIGHT HUNDRED) Dollars ($742,800.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 166
                                                                                           MOVIEFUND000382
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 167
                                                                                           MOVIEFUND000383
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 168
                                                                                             MOVIEFUND000384
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            10/11/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 169
                                                                                               MOVIEFUND000385
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                                                APPENDIX A


                                                ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (10/11/2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($999,265.00) at to which time all rights, title and interest of every
     kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “DETECTIVE K: SECRET OF THE LIVING DEAD” (the “Picture”) based on the original
     screenplay entitled “DETECTIVE K: SECRET OF THE LIVING DEAD” written by Tak-Hwan
     Kim.
     	  
     1. Assignor hereby represents and warrants:

             1.1.     That Assignor is the sole and exclusive owner of the rights and privileges granted
                      or to be granted to Assignee hereunder.
             1.2.     That, as of the effective date hereof, Assignor has the right to enter into this
                      Assignment.
             1.3.     That, as of the effective date hereof, no part of the rights herein conveyed has in
                      any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                      of and all such rights are therefore free and clear of any and all liens, claims,
                      charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services



                                                                                        Exhibit 7 Page 170
                                                                                              MOVIEFUND000386
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         granted herein, together with the results and proceeds thereof, and the representations and
         warranties contained herein, to any person or entity.

     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (11)th DAY OF OCTOBER, 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 171
                                                                                             MOVIEFUND000387
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           PROMISSORY NOTE
    	  
           $ (1,006,697.00)                                                        (09/27/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION SIX THOUSAND SIX HUNDRED NINETY
    SEVEN) Dollars ($1,006,697.00) in lawful money of the United States of America, which
    sum shall be due and payable on (03/27/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-FIVE THOUSAND ONE HUNDRED FIFTY) Dollars ($745,150.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 172
                                                                                           MOVIEFUND000388
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 173
                                                                                           MOVIEFUND000389
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 174
                                                                                             MOVIEFUND000390
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            09/27/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 175
                                                                                               MOVIEFUND000391
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (09/27/2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,006,697.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “EL SILENCIO DE LA CIUDAD BLANCA” (the “Picture”) based on the original screenplay
     entitled “EL SILENCIO DE LA CIUDAD BLANCA” written by Roger Danes.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 176
                                                                                           MOVIEFUND000392
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (27)th DAY OF SEPTEMBER 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 177
                                                                                             MOVIEFUND000393
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           PROMISSORY NOTE
    	  
           $ (997,160.00)                                                          (10/14/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (NINE HUNDRED NINETY-SEVEN THOUSAND ONE HUNDRED
    SIXTY) Dollars ($997,160.00) in lawful money of the United States of America, which
    sum shall be due and payable on (04/14/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY THOUSAND SEVEN HUNDRED FIFTY) Dollars ($740,750.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 178
                                                                                           MOVIEFUND000394
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 179
                                                                                           MOVIEFUND000395
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 180
                                                                                             MOVIEFUND000396
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            10/14/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 181
                                                                                               MOVIEFUND000397
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                                                APPENDIX A


                                                ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (10/14/2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($997,160.00) at to which time all rights, title and interest of every
     kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “GIRLS VS GANGSTERS” (the “Picture”) based on the original screenplay entitled “GIRLS VS
     GANGSTERS” written by Barbara Wong Chun-Chun.
     	  
     1. Assignor hereby represents and warrants:

             1.1.     That Assignor is the sole and exclusive owner of the rights and privileges granted
                      or to be granted to Assignee hereunder.
             1.2.     That, as of the effective date hereof, Assignor has the right to enter into this
                      Assignment.
             1.3.     That, as of the effective date hereof, no part of the rights herein conveyed has in
                      any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                      of and all such rights are therefore free and clear of any and all liens, claims,
                      charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                        Exhibit 7 Page 182
                                                                                              MOVIEFUND000398
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (14)th DAY OF OCTOBER, 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 183
                                                                                             MOVIEFUND000399
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           PROMISSORY NOTE
    	  
           $ (1,006,137.00)                                                        (09/30/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                            ), (the ''Payee''),
    an amount equal to (ONE MILLION SIX THOUSAND ONE HUNDRED THIRTY-
    SEVEN) Dollars ($1,006,137.00) in lawful money of the United States of America, which
    sum shall be due and payable on (03/30/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-FOUR THOUSAND FIVE HUNDRED) Dollars ($744,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                     Exhibit 7 Page 184
                                                                                           MOVIEFUND000400
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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                      Exhibit 7 Page 185
                                                                                           MOVIEFUND000401
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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                       Exhibit 7 Page 186
                                                                                             MOVIEFUND000402
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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
     	           	      	      	     	      	      	     	            09/30/2019
     	  
            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


                                                                                           Exhibit 7 Page 187
                                                                                               MOVIEFUND000403
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                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (
                                              ) (“Assignor”) and Movie Fund LLC, a Corporation located
     at (                                               ) (“Assignee”) is dated effective as of
     (09/30/2019).
     	  
     For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
     Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto
     Assignee all of Assignor’s rights, title and interest of every kind and nature, throughout the
     universe, until assignee is paid ($1,006,137.00) at to which time all rights, title and interest of
     every kind and nature revert back to Assignor and to that certain motion picture, currently entitled
     “GUN CITY” (the “Picture”) based on the original screenplay entitled “GUN CITY” written by
     Patxi Amezcua.
     	  
     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                     or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                     any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                     of and all such rights are therefore free and clear of any and all liens, claims,
                     charges or encumbrances whatsoever in favor of any party whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs, expenses
        (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
        warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
        accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
        similar law in any country of the world and agrees not to institute or permit any action or
        lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
        morale” and Assignor agrees that Assignor shall not, under any circumstances (including
        without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
        exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
        Assignee or to obtain any other form of equitable relief, specific performance or otherwise,
        any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
        person, firm or corporation. Assignee may assign this Assignment and the rights and services
        granted herein, together with the results and proceeds thereof, and the representations and
        warranties contained herein, to any person or entity.


                                                                                     Exhibit 7 Page 188
                                                                                           MOVIEFUND000404
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     6. This Assignment shall be construed in accordance with the laws of the state of California and
        shall be binding upon and shall inure to the benefit of the parties hereto and their respective
        successors, licensees and assigns. This Assignment cannot be amended or modified except in
        a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
     THIS ASSIGNMENT AS OF THE (30)th DAY OF SEPTEMBER 2019.
     	  
     	  
     	  
     1INMM CAPITAL, LLC (“Assignor”)	   	             	   	  MOVIE FUND LLC (“Assignee”)	  
     	  
     	  
     	  
     By:	  __________________________________	   	   	   By:	  _________________________________	  
     	  
     Its: MANAGING PARTNER	   	                  	   	   Its:	  ________________________________	  
     	  




                                                                                       Exhibit 7 Page 189
                                                                                             MOVIEFUND000405
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           PROMISSORY NOTE
    	  
           $ (997,615.00)                                                          (10/11/2019)
    	  
    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
    California, (the ''Maker''), hereby promises to pay to Lender, Movie Fund LLC, a
    corporation with addresses at (                                              (the ''Payee''),
    an amount equal to (NINE HUNDRED NINETY-SEVEN THOUSAND SIX HUNDRED
    FIFTEEN) Dollars ($997,615.00) in lawful money of the United States of America, which
    sum shall be due and payable on (04/11/2020) (the ''Maturity Date''), in one (1) balloon
    payment, in like money at said office. Payment date shall be no later than six (6) months
    post confirmed funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED
    FORTY-TWO THOUSAND FIVE HUNDRED) Dollars ($742,500.00).

    Prepayment Option. Maker may pay down at any time any portion of the principal sum
    outstanding without any prepayment penalty.

    Assignment of Rights. See Appendix A
    	  
           Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
           and that in the event payment of principal or interest due under this Note is not made
           when due, giving effect to any grace period which maybe applicable, the outstanding
           balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
           percent per month, for so long as such event of default continues.
    	  
           Validity of Agreement to Conform to Law. All agreements between the undersigned and
           the holder of this Note are expressly limited so that in no contingency or event
           whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
           maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
           be paid to the holder hereof for the use, forbearance or detention of money advanced
           hereunder exceed the highest lawful rate permissible under any law which a court of
           competent jurisdiction may deem applicable hereto. If, from any circumstances
           whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
           any other agreement referred to herein, at the time performance of such provision shall be
           due, shall involve transcending the limit of validity prescribed by law which a court of
           competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
           fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
           holder hereof shall ever receive as interest an amount which would exceed the highest
           lawful rate, such amount which would be excessive interest shall be applied to the




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    reduction of the unpaid principal balance due hereunder and not to the payment of
    interest. This provision shall control every other provision of all agreements between the
    undersigned and the holder hereof.
    	  
           Maker’s Default. At the option of the holder hereof exercised by written notice to the
           undersigned, this Note shall become immediately due and payable upon the maker's
           failure to pay when due any payment of principal, interest or expenses due hereunder; or
           (b) failure in the performance or observance of any of the terms or conditions of any
           mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
           otherwise pertaining to this Note after giving effect to any applicable curative period
           which may be contained therein. Upon the occurrence of any of the following specified
           Events of Default, as defined under the standard conventions and terminology prescribed
           for promissory notes drafted under Warren’s California Forms for Principal, Interest,
           Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
           called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
           any Event of Default shall then be continuing, the Payee may, by written notice to the
           Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
           due and payable, whereupon the principal of and such unpaid accrued interest in respect
           of this Note shall become forthwith due and payable without presentment, demand,
           protest or other notice of any kind, all of which are hereby expressly waived by the
           Maker. Furthermore, This note shall become due and payable before the above-
           mentioned maturity date immediately upon the happening of any of the following events
           affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
           petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
           creditors, calling meeting of creditors, appointment of liquidating agent or committee,
           offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
           or for over 30 days, application for appointment or appointment of any receiver, issuance
           of warrant of attachment or death of any maker or indorser or on default of any other
           obligations to the Maker.
    	  
           Collection Costs. If this Note or any installment of principal or interest is not paid when
           due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
           collection, including without limitation, actual attorneys' fees, and all expenses in
           connection with the protection or realization of the assets and proceeds available this
           Note or the enforcement of any subsequent memorandum or agreement created in
           conjunction with this Note incurred by the holder hereof on account of such collection,
           whether or not suit is filed hereon or thereon; such costs and expenses shall include,
           without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
           hereof in connection with any insolvency, bankruptcy, arrangement or other similar
           proceedings involving the undersigned, or involving any endorser or guarantor hereof,
           which in anyway affects the exercise by the holder hereof of its rights and remedies under
           this Note or under any mortgage, deed of trust, security agreement, guaranty or other
           agreement securing or pertaining to this Note.
    	  
           Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
           nonpayment of this Note and all notices of every kind are hereby waived by all parties to



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           this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
           provided herein. To the extent permitted by applicable law, the defense of the statute of
           limitations is hereby waived by the undersigned.
    	  
           Death of Maker. Maker of this note hereby waives all notice and demand and consent that
           this note shall become due and payable immediately upon the happening of any of said
           events. This note shall become due and payable on the Maturity Date, but payment shall
           be accelerated and become due and payable immediately if the Maker shall die. For the
           further security of the holder thereof, the undersigned covenants that so long as any part
           of the principal or interest of this note is outstanding and unpaid, it will not grant any
           security interest to any third party upon its property, or create any lien whatsoever
           thereon, without also thereby including therein this note, equally and ratably with every
           other evidence of debt, secured by any of the undersigned's property. If, while any part of
           the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
           then the holder hereof may at his or its election, declare and make this note at once due
           and payable by written notice delivered to maker, and this remedy will be deemed
           cumulative and in addition to any other remedy available to the holder hereof. This note
           shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
           cause whatsoever.
    	  
           Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
           case of non-payment thereof at maturity, or of any installment thereof when due, may
           grant to the maker or any indorser of said note any extension or extensions of time of
           payment thereof, in whole or in part, without notice to said indorsers or any of them and
           any such extension or extensions shall not affect in any way said indorsers' liability upon
           note, such indorsers hereby waiving demand, presentment of payment, notice of
           nonpayment and protest and do further agree that any holder of this note may in the event
           of default in the payment of principal of, or interest upon, this note or any installment
           thereof repossess and/or sell the (collateral) held as collateral security for the payment of
           this note without in any way relieving said indorsers, or any of them, of any liability by
           reason of such repossession and/or sale, applying the proceeds of sale of any such asset
           less all costs to amount due under this note, and all indorsers agree to pay any deficiency
           on this note on demand.
    	  
           Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
           rights under this Note, the unsuccessful party or parties to such litigation, as determined
           by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
           or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
           party or parties (including, without limitation, such costs, expenses and fees on any
           appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
           judgment or decree.
    	  
           General Provisions. Principal and interest evidenced hereby are payable only in lawful
           money of the United States. The receipt of a check shall not, in itself, constitute payment
           hereunder unless and until paid in good funds. Whenever any payment on this Note shall
           be stated to be due on a day, which is not a business day, such payment shall be made on



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            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal
            court sitting in the state of California, and waives any claim or defense that such forum
            is not convenient or proper, and consents to service of process by any means
            authorized by California and/or Federal law.
     	  
     	  
            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
            WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
            CONTRACT OR IN TORT OR OTHERWISE.
     	  
     	  
     	  
     	  
     	  
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            1INMM Capital, LLC                                         Date
            Zachary Horwitz, Manager
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  
     	  


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